Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 1 of 110 PageID #: 510


                                                                                1
      1                IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
      2                          LUFKIN DIVISION

      3    NETFLIX, INC.,            )
                                     )
      4              Plaintiff,      ) Case Nos.
                                     ) 9:22-cv-00031
      5    vs.                       )
                                     )
      6    LUCAS BABIN,              ) Beaumont, Texas
                                     )
      7              Defendant.      )
          --------------------------------------------------------
      8        TRANSCRIPT OF PLAINTIFF'S MOTION FOR TEMPORARY
                RESTRAINING ORDER AND MOTION FOR PRELIMINARY
      9                       INJUNCTION HEARING

     10                               March 4, 2022

     11          BEFORE THE HONORABLE MICHAEL J. TRUNCALE
                        UNITED STATES DISTRICT JUDGE
     12   --------------------------------------------------------

     13 APPEARANCES:

     14 For the Plaintiff:

     15                MR. JOSHUA J. BENNETT
                       Carter Arnett PLLC
     16                8150 North Central Expressway, Suite 500
                       Dallas, Texas 75206
     17                jbennett@carterarnett.com

     18                MR. DAVID M. PRICHARD
                       Prichard Hawkins & Young
     19                10101 Reunion Place, Suite 600
                       San Antonio, Texas 78216
     20                dprichard@prichardyoungllp.com

     21 For the Defendant:

     22                MR. CHRISTOPHER L. LINDSEY
                       Office of the Attorney General
     23                300 West 15th Street, 7th Floor
                       Austin, Texas 78701
     24                christopher.lindsey@oag.texas.gov

     25


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 2 of 110 PageID #: 511


                                                                                    2
      1        Proceedings reported by stenotype.                  Transcript

      2             produced by computer-aided transcription.

      3                                    ---0---

      4                (The following proceedings were held in open

      5                court commencing at 10:25 a.m., reported as

      6                follows:)

      7                (Call to Order of the Court.)

      8                THE COURT:       Thank you.        Please be seated.

      9                All right.       The Court calls the case of

     10 Netflix, Inc., v. Lucas Babin.                It's Civil Action

     11 9:22-cv-31.       This is a Lufkin Division case, but we are

     12 sitting for purposes of this temporary restraining --

     13 hearing on a temporary restraining order in Beaumont.

     14                And I'm going to ask counsel to identify

     15 themselves and inform the Court if you're ready to

     16 proceed.

     17                MR. PRICHARD:        Should I leave this cover on?

     18 You can hear me all right, your Honor?

     19                THE COURT:       Yes, you can.         And thank you all

     20 for being here.        And we have, at least for the reminder

     21 of this month, some protocols regarding COVID.                    But you

     22 all, if you feel comfortable in doing so, may remove

     23 your masks in the courtroom.               And we are adequately

     24 distanced.       And I also think that it does facilitate

     25 better communication to be able to understand what is


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 3 of 110 PageID #: 512


                                                                                    3
      1 being -- everyone is saying.

      2                So -- and I would also -- since some of you

      3 may not be familiar with this courtroom, the acoustics

      4 are not particularly good even for members of the jury.

      5 You can hear the sound just dissipates.                    So be sure and

      6 speak into the microphone so that you can be heard,

      7 okay?

      8                MR. PRICHARD:        Thank you, your Honor.         And

      9 good morning.

     10                THE COURT:       Morning.

     11                MR. PRICHARD:        On behalf of Netflix, Inc.,

     12 my name is David Prichard with the firm of Prichard

     13 Young LLP, in San Antonio.             With me today is Mr. Joshua

     14 Bennett with the Carter Arnett firm in Dallas and our

     15 client Ms. Linda Burrow.            And Ms. Burrow is the director

     16 of litigation for Netflix.

     17                And with the Court's permission, after

     18 counsel introduces themselves, I would turn the rostrum

     19 over to Mr. Bennett to make our argument.

     20                THE COURT:       All right.        That's very good.

     21                MR. LINDSEY:        Good morning, your Honor.

     22                THE COURT:       Good morning.

     23                MR. LINDSEY:        My name is Christopher Lindsey

     24 with the Attorney General's Office, and I'm representing

     25 Lucas Babin.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 4 of 110 PageID #: 513


                                                                                    4
      1                THE COURT:       All right.        Very fine.

      2                Mr. Lindsey, you came in from Austin; is that

      3 correct?

      4                MR. LINDSEY:        I did.

      5                THE COURT:       All right.        It's a bit unusual --

      6 in fact, I think this may be the first time in a motion

      7 for temporary restraining order that the defendant is

      8 here.     Usually, as you know, those -- these matters are

      9 legally ex parte -- legally done, but I'm glad to have

     10 you here.

     11                And since we're ready to proceed,

     12 Mr. Bennett, I'll turn the floor over to you.

     13                MR. BENNETT:        Thank you, your Honor.

     14                May it please the Court.

     15                THE COURT:       Yes.

     16                I apologize to everyone for being a little

     17 late, but we had some late filings in this case, which,

     18 candidly, have not been fully absorbed yet.                    It's not a

     19 criticism at all, but normally we at least have 24 hours

     20 to absorb the pleadings before one of these type of

     21 hearings.       And we had the complaint that was filed, but

     22 I didn't see the actual motion as well as the reply

     23 until this morning.

     24                And I recognize that everyone's probably

     25 operating on gas fumes right now and probably -- you all


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 5 of 110 PageID #: 514


                                                                                     5
      1 haven't had much sleep in putting this together, but --

      2 and so I appreciate that.             And we will want to give

      3 serious consideration to all of the pleadings that have

      4 been filed.

      5                I do not anticipate a ruling from the bench

      6 because we have a lot to absorb, but I think we're

      7 ready, at least enough, to proceed.

      8                So go ahead, Mr. Bennett.

      9                MR. BENNETT:        Thank you, your Honor.

     10                I'm going to start my arguments talking about

     11 a constitutional principle that's central to our system

     12 of government.        And it's not the First or Fifth

     13 Amendment.       It's federalism.          The party that's most

     14 respected that principle in this room is Netflix.                   For

     15 400 days, it sat under indictment under Texas Penal Code

     16 Section 43.262 before it sought redress in state court

     17 to have that statute held unconstitutional and those

     18 charges dismissed.

     19                In those intervening 400 days as that

     20 indictment came down in October of 2020, it was clear

     21 that that statute was unconstitutional on its face.                     It

     22 was clear that the state had no probable cause to ever

     23 issue that indictment.           And we show that to your Honor

     24 in the record and in our brief.                Two quick examples of

     25 the utter lack of probable cause are in two of the three


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 6 of 110 PageID #: 515


                                                                                  6
      1 substantive elements that fall under Section 43.262.

      2 That's 43.262(b)(2) and (b)(3).                Those two elements

      3 required, before the indictment could issue, probable

      4 cause that the film Cuties, a film that contains no

      5 sexual conduct or nudity of a child at any point,

      6 appealed to the prurient interest in sex.

      7                For 50 years, appeals to the prurient

      8 interest in sex under the United States Supreme Court's

      9 decision in Miller v. California has meant one thing:

     10 The most hardcore of pornography.                 Jenkins v. Georgia

     11 makes the case.        Mere nudity of the -- even nudity is

     12 not enough.       It has to be hardcore.             No one who watched

     13 Cuties could ever have thought that it appealed to the

     14 prurient interest in sex under any conceivable

     15 interpretation of that phrase from Miller.

     16                This (b)(3) requires a showing of no serious

     17 literary, artistic, political, or other public value, to

     18 paraphrase the rest of the statute.                  Not just it lacks.

     19 No.     Zero political, literary, or artistic value.                By

     20 the time the indictment hit, no reasonable prosecutor

     21 could have concluded that the statute met that element.

     22                THE COURT:       Under concepts of federalism, why

     23 shouldn't the Court simply allow the state courts to

     24 handle this matter?          I understand that your client was

     25 inconvenienced for 400 days and embarrassed or harmed or


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 7 of 110 PageID #: 516


                                                                                   7
      1 whatever by being under indictment that long.                  And from

      2 what I gathered from the complaint, was -- there were

      3 issues in terms of even getting before a state district

      4 judge to have the matter resolved one way or the other.

      5                Why should the -- why should the federal

      6 court now intervene?

      7                MR. BENNETT:        Because --

      8                THE COURT:       I mean, don't we have the Younger

      9 abstention doctrine in play here?

     10                MR. BENNETT:        And that's exactly where we're

     11 headed.

     12                At some point, comity and -- and

     13 federalism -- the relationship between a national and a

     14 state government deference to state governments gives

     15 way to supremacy.         Now, that point is high.           And we've

     16 been more than candid.           We brought the issue up to the

     17 Court.      Not the state.       But the reason that this Court

     18 now has jurisdiction to hear this is two reasons.                   One,

     19 we tried to go to federal court.                 What happened was --

     20                THE COURT:       No.    You tried --

     21                MR. BENNETT:        I'm sorry.        We tried to go to

     22 state court.

     23                THE COURT:       All right.

     24                MR. BENNETT:        We brought our challenge to

     25 state court.       The statute was held facially


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 8 of 110 PageID #: 517


                                                                                  8
      1 unconstitutional in Ex Parte Lowry.                  We brought that to

      2 the state's attention and asked for the dismissal of the

      3 charges.      When the state didn't move on that dismissal,

      4 we sought redress from the state court by filing our

      5 pretrial habeas petition.

      6                THE COURT:       Now, on March 2nd, the Lowry --

      7 the Court granted petition for -- in that case.                    So

      8 should the Court still -- should this Court still

      9 consider that the law of -- the law of Texas, or should

     10 we wait until the higher court in the state system

     11 renders an opinion on the true meaning of Lowry?

     12                MR. BENNETT:        Well, the First Amendment is a

     13 federal concern, and the First Amendment is squarely at

     14 issue in Lowry.        So this Court is well within its

     15 jurisdiction -- has mandatory jurisdiction over any

     16 First Amendment claim that falls within its federal

     17 question jurisdiction subject to Younger.                  And

     18 we'll get -- and that's where I'm --

     19                THE COURT:       Without waiting for what the

     20 Lowry --

     21                MR. BENNETT:        Correct.

     22                THE COURT:       Whether or not Lowry is

     23 something -- a case I should follow or not?

     24                MR. BENNETT:        Correct.       Federal law --

     25                THE COURT:       Although since it favors your


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 9 of 110 PageID #: 518


                                                                                  9
      1 position, you want me to take note of it, I'm sure.

      2                MR. BENNETT:        It colors the facts of what

      3 happened post-Lowry.

      4                THE COURT:       Okay.

      5                MR. BENNETT:        So we file our petition.         We

      6 were more than happy and ready to proceed in state court

      7 on those grievances.

      8                THE COURT:       Are you saying that you kind of

      9 waited for -- you were the attorney of record in Lowry,

     10 as I recall; is that correct?

     11                MR. BENNETT:        I was not, your Honor.        It was

     12 a different attorney.

     13                THE COURT:       Okay.     But you -- with that in

     14 mind, you were thinking that because of Lowry, that

     15 might change the tune of the district attorney in this

     16 case?

     17                MR. BENNETT:        Well, we hoped that that would

     18 be the case.

     19                THE COURT:       Okay.

     20                MR. BENNETT:        But even if not, certainly

     21 that's a good decision to have when you're going to move

     22 in state court --

     23                THE COURT:       Right.

     24                MR. BENNETT:        -- for a pretrial habeas

     25 relief.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 10 of 110 PageID #: 519


                                                                                 10
       1                THE COURT:      I got it.

       2                MR. BENNETT:       The outcome of a case that's

       3 held the statute under which you're under felony

       4 indictment is invalid.

       5                THE COURT:      Okay.     Continue.

       6                MR. BENNETT:       So we were more than eager to

       7 proceed in state court and try.               What happened was

       8 instead -- and we saw this this morning in the state's

       9 response -- rather than dismiss the charges in October

     10 or November or December or the months that ensued until

     11 March 2nd when we were alerted to the four new

     12 indictments, the state pushed off our hearing.                  They

     13 didn't want it heard on January 4th when the Court was

     14 available, so it could convene a grand jury and garner

     15 four new indictments on trumped-up charges of child

     16 pornography.

     17                 Now, a pause here, again, just to talk about

     18 the facts.       Let's remember the indictment came down --

     19 was issued and published by the state in September

     20 of 2020.       Cuties had been streaming on Netflix by that

     21 point for about three weeks.               Not a second of that

     22 footage in that film changed between September of 2020

     23 and March 3rd of 2022.           At any time in that intervening

     24 period, the state could have -- it could have brought

     25 those charges originally, given the fact that Mr. Babin


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 11 of 110 PageID #: 520


                                                                                 11
       1 claims to have watched the film.

       2                And I think it strains credibility credulity

       3 to think that the prosecutor, who watched the film that

       4 actually thought in September of 2020 that that

       5 constituted child pornography under 43.25 of the Texas

       6 Penal Code, wouldn't charge that statute.                 You can look

       7 at the indictment.         It's Exhibit 2 to both our complaint

       8 and our -- our TRO motion.            It doesn't mention 43.25 in

       9 the first indictment or any of the facts that would give

     10 rise to a 43.25 violation.

     11                 What was charged there is -- was the lewd

     12 exhibition of clothed and partially clothed children.

     13 That's what 43.262 talks about.                There's -- that is why

     14 the indictment came down as it did, again, setting aside

     15 issues of probable cause.             Netflix proceeded to

     16 challenge that statute in state court until Mr. Babin

     17 embarked on a plan to make sure that we didn't get

     18 relief, which was issue the four new indictments and

     19 then dismiss the charges under 43.262 to ensure that we

     20 couldn't challenge that statute and its facial

     21 unconstitutionality in state court.

     22                 And then they've come this morning to your

     23 Honor -- Document 9 that was filed this morning -- to

     24 tell this Court that we can't get -- even though they've

     25 dismissed those charges under 43.262, this Court can't


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 12 of 110 PageID #: 521


                                                                                 12
       1 grant any relief so long as any charges are pending in

       2 that underlying state court case.                Because that was the

       3 plan all along.        Once it knew that Lowry had come down,

       4 once it knew it couldn't prevail in justifying

       5 Section 43.262 under the First Amendment, that was the

       6 plan.     Bring new charges, dismiss the old, keep them --

       7 prevent them from getting relief -- prevent Netflix from

       8 getting relief under -- relief from under the indictment

       9 under 43.262, dismiss the charges without prejudice

     10 while vouching for the constitutionality of the -- of

     11 the first indictment statute.               That's the motion to

     12 dismiss that's attached to the TRO.

     13                 THE COURT:      Question.

     14                 MR. BENNETT:       Yes.

     15                 THE COURT:      Does it -- does the fact that --

     16 with regard to the 262 claims for which you are under

     17 indictment -- your client was under indictment for for

     18 400 days -- those -- that indictment has been dismissed

     19 without prejudice, but -- this is a standing question.

     20                 Is there still some speculation that -- is it

     21 more speculative that you might be indicted under --

     22 under this statute again?             In other words, are we now

     23 just -- should focus on the child pornography charge

     24 that you're currently under indictment -- your client is

     25 currently under indictment for?


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 13 of 110 PageID #: 522


                                                                                 13
       1                MR. BENNETT:       So the answer to that is, no,

       2 it's still a live controversy that isn't mooted by the

       3 dismissal of the prior charges.               We'll brief this, I'm

       4 sure --

       5                THE COURT:      Why is this not speculative is my

       6 question?

       7                MR. BENNETT:       Right.      It's not speculative

       8 because once an indictment has come, even if it is

       9 voluntarily dismissed --

     10                 THE COURT:      Right.

     11                 MR. BENNETT:       -- the -- the chances of

     12 re-indictment are not speculative any more under

     13 Fifth Circuit cases -- and we're happy to file a letter

     14 brief immediately after or a supplemental brief for your

     15 Honor immediately after the hearing addressing that.

     16 Mootness hasn't been raised, but it's not speculative.

     17                 THE COURT:      Yes.

     18                 MR. BENNETT:       Because once you've been under

     19 indictment, even if the state voluntarily dismisses it,

     20 unless there is some dismissal with prejudice or some

     21 stipulation of "we won't re-indict," which is exactly

     22 the opposite in this case, then the -- the plaintiff has

     23 standing in a live controversy, not a moot one, to

     24 proceed in federal court and adjudicate its

     25 constitutional rights.           So that's this case.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 14 of 110 PageID #: 523


                                                                                 14
       1                The dismissal was without prejudice -- and

       2 not just without prejudice -- while also vouching for

       3 the constitutionality of the statute -- affirmative

       4 assertions that the state really thinks the state --

       5 that the statute is constitutional.                 And that's where I

       6 want to come back to Ex Parte Lowry.                  It's the state who

       7 petitioned for review.          It's taking up for this statute.

       8 The Attorney General's Office.               Mr. Babin is the

       9 district attorney.         So, apparently, the state still

     10 thinks it's constitutional.               And in light of all of the

     11 those facts, it's not speculative for Netflix to think

     12 that if re-indict is not coming from -- from Mr. Babin,

     13 then some other district attorney or state attorney

     14 general.

     15                 THE COURT:      Can this matter be decided by

     16 this Court just based upon application of the statute

     17 without having to go to a constitutional analysis?

     18                 MR. BENNETT:       The short answer is no.         The

     19 constitutional challenge is --

     20                 THE COURT:      Well, hold on.

     21                 MR. BENNETT:       Yes.

     22                 THE COURT:      Of course, not in a TRO.         But

     23 ultimately in an injunctive proceeding, could there be a

     24 finding?       I've not seen the film, but a finding that

     25 it -- you've made the position that it doesn't violate


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 15 of 110 PageID #: 524


                                                                                     15
       1 either one of these two statutes just on its face.

       2 There is no act -- no evidence of sexual activity.                      I

       3 don't know if there is or not, but that's what you've

       4 stated.

       5                I mean, could it be a determination without

       6 even addressing the broader constitutional issues and

       7 say, well, those statutes have not been violated?

       8                MR. BENNETT:       The short answer is no for two

       9 reasons.

     10                 THE COURT:      Go ahead.

     11                 MR. BENNETT:       One, the underlying merits of

     12 the indictment are a matter of only state law that's not

     13 before the Court.

     14                 THE COURT:      Thank you.        Okay.    That's what I

     15 was driving at.

     16                 Okay.    Go ahead.

     17                 MR. BENNETT:       But the reason that those facts

     18 matter about the utter lack of probable cause for the

     19 first indictment or the new ones is because they get

     20 back to what -- what we wanted to talk about since we

     21 got here, which is Younger abstention.

     22                 So Younger abstention -- just speaking

     23 critically -- just strictly about the law of Younger

     24 abstention, it applies in -- when there's three elements

     25 present.       One, ongoing state court proceedings.              Two,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 16 of 110 PageID #: 525


                                                                                      16
       1 when the federal action might interfere with those

       2 proceedings.       And, three, if the movant or the plaintiff

       3 can seek redress in state court.                Counts 1 and 2 of the

       4 complaint -- of Netflix's complaint for injunctive

       5 relief do not fall under Younger abstention, despite

       6 what the state argued this morning in its brief.

       7                And the reason for that is because upon

       8 dismissal of the charges under 43.262, there is no state

       9 court proceeding that involves those charges.                 In that

     10 case, our invocation of federal question jurisdiction

     11 makes the exercise of jurisdiction over Counts 1 and 2

     12 mandatory because we have a right to a federal forum to

     13 adjudicate federal claims under the United States

     14 Constitution.

     15                 THE COURT:      Okay.

     16                 MR. BENNETT:       Younger abstention does not

     17 apply at all, despite what the state has argued, despite

     18 what the state has tried to do to prevent us from

     19 getting here.        It doesn't apply to Counts 1 and 2.                 So

     20 those go forward.          So we get to challenge in this court

     21 and adjudicate the constitutionality of Section 43.262

     22 because it's a federal question.                 It's not barred by

     23 Younger abstention, and it is still a live controversy.

     24                 Counts 3 and 4, even if the Court assumes all

     25 of the Younger abstention facts -- the three Younger


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 17 of 110 PageID #: 526


                                                                                     17
       1 abstention elements applies to those two counts, which

       2 is those that arise out of the new -- the four new

       3 indictments, this is where we switch from comity to

       4 supremacy.      At some point, federal law hold sway.

       5 Constitutional law hold sway.              And that point is shown

       6 emphatically in this record, and that is where state

       7 officials have engaged in bad faith tactics.                     And we

       8 don't use that term lightly.              That's a well-supported

       9 finding under the cases we've cited to this Court;

     10 Fitzgerald v. Peek, 636 F.2d 943; Jordan v. Reis,

     11 169 F.Supp 2d 664.          There are others.              Torries v.

     12 Hebert, 111 F.Supp 2d 806.

     13                 In all of those cases, the federal courts

     14 refused to apply Younger abstention, an equitable

     15 doctrine, because it had been shown that the state

     16 officials acted inequitably toward the plaintiffs in

     17 trying to retaliate against them or harass them for

     18 exercising their First Amendment rights.                      And those

     19 facts are present here, and under the law, justify the

     20 exercise of this Court's federal question jurisdiction

     21 over federal constitutional issues.

     22                 So, for example, Netflix exercised its

     23 First Amendment right to promote the film Cuties.                         As a

     24 result of the exercise, that is protected conduct.                         The

     25 film Cuties -- and we've showed this in our brief -- is


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 18 of 110 PageID #: 527


                                                                                 18
       1 not subject to obscenity and under no reasonable

       2 construction of a child pornography law could it be

       3 considered child pornography.              And, in fact, to stretch

       4 child pornography law, such as Texas Penal Code 43.25,

       5 to apply to this movie is to stretch them beyond

       6 constitutional bounds.          On that point, the state's

       7 position apparently is that anyone who not -- not only

       8 who watches Cuties is guilty of a second degree felony,

       9 but anybody who promotes Cuties -- and that is an

     10 exceedingly broad term as defined in the statute.

     11 Promotion could include anyone who posts a positive film

     12 review of Cuties urging other people to watch it.

     13                 If this is really child pornography -- real

     14 child pornography, nobody can post up on YouTube, "This

     15 is a great movie.          You should watch it.            Here's the

     16 link."      Or on Internet Movie Database or on any number

     17 of social media sites where people exchange these kinds

     18 of ideas and communications.               But the state would

     19 have -- would construe Section 43.25 to apply to all of

     20 that.      Because in the real child pornography context,

     21 all of that would be criminal if it were really child

     22 pornography.

     23                 THE COURT:      And none of that is specifically

     24 before the Court, but you're just using that for

     25 purposes of argument?


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 19 of 110 PageID #: 528


                                                                                  19
       1                MR. BENNETT:       It is before the Court in the

       2 sense of our as-applied challenge to Section 43.25.                     As

       3 applied to Cuties, all of those facts show why it is

       4 unconstitutional as applied to us.                 It covers -- it --

       5 as applied versus a facial challenge concerns the

       6 remedy.     Netflix supports and is not trying to

       7 invalidate Section 43.25.            We are cognizant of its good.

       8 We support it.        We are very conscientious in making sure

       9 nobody violates that certainly from our side in doing

     10 our due diligence.          And we've shown that to the Court in

     11 Exhibit 4 to our temporary restraining order showing

     12 that we did an investigation about the actresses

     13 involved in our film and verified that they were of age

     14 if the conduct required that that verification be made.

     15                 THE COURT:      When was this -- when was this

     16 film made, and in particular what -- do you know the

     17 date that that particular scene with Ms. Aillaud -- I

     18 may be not pronouncing it correctly -- Manola I think is

     19 her first name.

     20                 Do you know the date that that particular

     21 segment was filmed?

     22                 MR. BENNETT:       To the best of -- and this is

     23 not in the record yet.           To the best of our knowledge, it

     24 was no -- no sooner than 2018.                Certainly, it wasn't

     25 2017 or 2016 when she would have been underage.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 20 of 110 PageID #: 529


                                                                                 20
       1                THE COURT:      2018?

       2                MR. BENNETT:       Correct.       So she was born in

       3 1999.     Our best -- to the best of our knowledge, she was

       4 probably 19 or 20.

       5                THE COURT:      Okay.

       6                MR. BENNETT:       We're still trying to run that

       7 down.     It certainly wasn't filmed in 2016 when she was

       8 17 years old.

       9                THE COURT:      You can represent that to the

     10 Court?

     11                 MR. BENNETT:       Yes.

     12                 THE COURT:      Okay.     Go ahead.

     13                 MR. BENNETT:       So we are very conscientious

     14 and cognizant of that because Netflix streams

     15 everywhere.        It has to stream -- it's subject not only

     16 to federal laws on this issue, but 50 state laws on this

     17 issue.      And it streams Cuties into every one of those

     18 states.

     19                 And I just want to step back and pause this

     20 just for a moment to think about what that means.

     21 Federal child pornography law is overseen by 94

     22 United States attorneys and their assistant United

     23 States attorneys.          There are 50 state attorney generals

     24 and their assistant attorney generals.                     And I don't know

     25 how many district attorneys there are in the United


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 21 of 110 PageID #: 530


                                                                                 21
       1 States, but it has to be a few hundred.

       2                In Texas, there are 241 district attorneys.

       3 Cuties has been streaming continuously from September

       4 of 2020 until now.         And out of all of those thousands of

       5 prosecutors, one -- one has brought indictments against

       6 Netflix for the film Cuties.              One.     And not just one --

       7                THE COURT:      One federal -- one federal

       8 prosecutor has, did you say?

       9                MR. BENNETT:       No.    One prosecutor out of all

     10 federal prosecutors and all state prosecutors in

     11 America --

     12                 THE COURT:      Mr. Babin.

     13                 MR. BENNETT:       Mr. Babin.        And not just one,

     14 but five.       I think, again, that highlights the nature of

     15 why 43.25 can't constitutionally be stretched to apply

     16 to Cuties.       Because it's -- it's too far.

     17                 THE COURT:      Okay.

     18                 MR. BENNETT:       And we commend to your Honor

     19 the case U.S. v. Williams.               We've cited it in our brief

     20 about exactly why that's the case.                  Justice Scalia in

     21 his opinion there rejected as far-fetched the very view

     22 Mr. Babin expresses in this court about why 43.25

     23 applies.       That -- he shot that down in rejecting a

     24 facial challenge but said as-applied challenges could be

     25 brought.       And that's why we're here.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 22 of 110 PageID #: 531


                                                                                  22
       1                So when it comes to Younger -- even Younger

       2 has limits.       And we have been candid from the start.                We

       3 put it in our complaint, and it's, again, in our TRO

       4 motion that we understand that Younger's limits are a

       5 high bar.      But the sad part is that the law and the

       6 facts of this case exceed that bar.                 And the cases we've

       7 cited to your Honor show it.              Torries is a great one.

       8 In that case out of a federal court in Louisiana, some

       9 plaintiffs had been playing rap music.                    Gangster rap

     10 music.      They have a First Amendment right to do that.

     11                 The local district attorney didn't appreciate

     12 it.     He was concerned that gangster rap was inciting

     13 violence and brought criminal charges against the

     14 plaintiffs in that case for playing their music.

     15 Younger abstention was asserted there by the district

     16 attorney, and the Court rejected the Younger abstention

     17 motion because the law and the facts didn't justify it.

     18 If the plaintiffs had a First Amendment right to play

     19 the gangster rap music, the Court held, and you have no

     20 other basis for justifying the indictment other than

     21 their exercise of a First Amendment right, then that's a

     22 bad faith prosecution, among the other facts that the

     23 district attorney couldn't come up with any other

     24 justification, other than the exercise of First

     25 Amendment rights, to defend the prosecution.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 23 of 110 PageID #: 532


                                                                                   23
       1                We have -- our -- before it was dismissed --

       2 the charges under 262 were dismissed, our habeas

       3 petition had been pending for more than 90 days.                  And we

       4 have yet to hear any defense from Mr. Babin or anyone

       5 else about why that statute isn't unconstitutionally

       6 overbroad or unconstitutionally vague on its face.

       7                THE COURT:      That habeas motion is now moot

       8 because those charges were dismissed, correct?

       9                MR. BENNETT:       Correct.       But the point I'm

     10 making is there's been -- there has never been a

     11 substantive defense to what has happened here.

     12                 So once we have all those facts in view,

     13 Younger abstention either doesn't apply at all under

     14 Counts 1 and 2, or if it does apply to Counts 3 and 4,

     15 it would be inappropriate to apply Younger abstention

     16 given the facts of the case and under the law of Younger

     17 abstention exceptions.           I want to also point out, again,

     18 another exception to Younger abstention is where the

     19 state acts purposely to deprive a plaintiff of a legal

     20 right or acts in retaliation of that legal right.

     21                 And the record shows that happened here.                 The

     22 legal right that we invoked was the right to petition

     23 the government for redress.              We asked for dismissal of

     24 charges that couldn't be supported either by the

     25 constitution or the facts.             The facts were coming later,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 24 of 110 PageID #: 533


                                                                                      24
       1 but we couldn't even get over the constitutional hurdle,

       2 which is why we filed the pretrial habeas petition.

       3 That petition was filed on November 12th.                 By that

       4 point, the case had been pending 400 days roughly.                      At

       5 no point thereafter did a dismissal come until

       6 March 3rd.      And the reason the dismissal came that late

       7 and -- was because we filed that petition.                 Showed

       8 ourselves entitled to a judgment.                And not just a

       9 judgment that -- that would have got us out of some

     10 criminal charges, but a judgment that would have

     11 invalidated that statute against Netflix for all time

     12 and in memoriam, if successful.                And maybe it would be

     13 appealed, but we would defend that on appeal.                  But that

     14 was the redress we showed ourselves entitled to.

     15                 It wasn't until after we filed that petition

     16 and expressed those views and showed ourselves entitled

     17 to that relief that Mr. Babin engaged in the course of

     18 conduct that he engaged in; convene a secret grand jury,

     19 get four more trumped-up charges, and dismiss those --

     20 dismiss the first indictment so we could never get that

     21 kind of relief.         Jordan v. Reis and some other cases

     22 that we've cited show that when you act -- when you file

     23 claims -- when you petition the government and that

     24 results in further conduct -- prejudicial conduct by the

     25 government, that's an exception to Younger abstention


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 25 of 110 PageID #: 534


                                                                                    25
       1 also.

       2                So with Younger abstention out of the way, we

       3 can finally get to the merits of why we're here, and

       4 that's the state and Mr. Babin's effort to deprive

       5 Netflix of its constitutional rights.                     At no point in

       6 the state's response this morning do they try to engage

       7 those arguments on the merits.               They haven't done it in

       8 the 90 days that ensued after we filed the petition.

       9 They don't even mention the film Cuties in the response

     10 or provide any analysis to rebut any of the arguments we

     11 make about why it is unconstitutional -- why the new

     12 indictments are unconstitutional as applied to Netflix

     13 and Cuties, and they make no effort to defend -- don't

     14 even cite Section 43.262 in their response.                      And that, I

     15 would submit, is because there isn't much of one.

     16 Between its unconstitutional vagueness and its clear

     17 overbreadth and viewpoint discrimination, as we also

     18 point out in our brief, the statute can't survive strict

     19 scrutiny on its face.           That being Section 43.262.

     20                 So Netflix is likely to succeed on the merits

     21 of its claims.         And you know that especially because of

     22 Lowry.      And to your Honor's point about the Texas Court

     23 of Criminal Appeals granting the petition for review --

     24 something we pointed out in Footnote 1 of our

     25 complaint -- I would submit to your Honor that -- and


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 26 of 110 PageID #: 535


                                                                                    26
       1 this is just tea leaves.           One of the reasons for that is

       2 this is the underlying case in state court.                    The Texas

       3 Court of Criminal Appeals certainly didn't know that the

       4 day it granted review in that case, Mr. Babin

       5 indicted -- dismissed that indictment.                    But you can look

       6 at Lowry on Page 11 of the opinion in Lowry where that

       7 court cites Mr. Babin's indictment of Netflix as grounds

       8 for finding the statute that Mr. Lowry challenged,

       9 43.262, unconstitutional.

     10                 It cited the very prosecution that Mr. Babin

     11 brought as a reason to find it overbroad and threatening

     12 and chilling speech.          And none of that mattered to

     13 Mr. Babin.

     14                 THE COURT:      Now, the Lowry decision was not

     15 based on Section 43.262, though.

     16                 MR. BENNETT:       It was not.        That is correct.

     17 And that's because -- and this is, again, I think

     18 another fact that sort of shades what's really going on

     19 here with respect to these four new indictments.                     We

     20 have attached our habeas petition as Exhibit 5 to our

     21 complaint and as Exhibit 6 to our TRO motion.                     In that

     22 petition, we were very candid with the Court because we

     23 take that obligation seriously.                And what we've said was

     24 the existing laws on the books of -- the statutes in

     25 Texas under child pornography are constitutional on


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 27 of 110 PageID #: 536


                                                                                   27
       1 their face.

       2                We made that representation to the Court so

       3 as to distinguish the newer 43.262, which would -- had

       4 been enacted in 2017.          And the reason that fact matters

       5 is because once we've told the state court that we can't

       6 make a facial challenge to 43.25, we can't get pretrial

       7 habeas relief against those charges.                  We have to go

       8 through all of the pretrial process under any charges

       9 under 43.25 because there's no right to pretrial habeas

     10 relief under Texas state law unless you have a facial

     11 challenge.       And we readily acknowledge we don't.                  And so

     12 that's why the -- that's why we traded horses.                      You can

     13 get pretrial relief and a right to immediate appeal on a

     14 facial challenge, and we were headed that way to make

     15 sure we didn't.         And we had to play his game in state

     16 court.      He changed to 43.25.           And in a way -- again,

     17 that's lacking probable cause, which goes to bad faith,

     18 but more importantly cannot be supported by the

     19 constitution --

     20                 THE COURT:      So you don't have a

     21 constitutional attack on Section 43.25?

     22                 MR. BENNETT:       I do as applied.           So the

     23 difference is 43.262 being a facial challenge would

     24 invalidate that statute for everyone.                      No prosecutor in

     25 Texas could ever indict anyone if we were successful


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 28 of 110 PageID #: 537


                                                                                 28
       1 under 43.262.

       2                THE COURT:      Because you're saying it's too

       3 vague and that kind of thing?

       4                MR. BENNETT:       Exactly.       In substantially all

       5 of its applications.

       6                THE COURT:      Okay.

       7                MR. BENNETT:       So it's too vague for everyone.

       8 It's invalid for everyone under the First Amendment.

       9                THE COURT:      Okay.

     10                 MR. BENNETT:       We can't make that challenge

     11 under 43.25 because it -- because Texas correctly

     12 drafted that statute to comply with Ferber v. New York.

     13 And we, again, in our habeas petition told Mr. Babin

     14 that that was our position because it's true.                  It does.

     15 It's facially constitutional.               We would never think of

     16 trying to bring a facial challenge to a statute that --

     17 that's that important to the State of Texas and that

     18 many other states have.

     19                 THE COURT:      All right.        So if the

     20 Statute 43.25 is facially valid, then in its

     21 application, your position is that it simply doesn't

     22 apply here because there is no sexual conduct,

     23 essentially, portrayed in the film.                  At least that's

     24 what you've represented to the Court.

     25                 MR. BENNETT:       Correct.       So there's --


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 29 of 110 PageID #: 538


                                                                                 29
       1 there's -- for constitutional purposes --

       2                THE COURT:      So then how do I -- it kind of

       3 goes back to my first question.

       4                Do I -- could I on this particular point make

       5 a decision based upon the applicability of the statute

       6 itself as it applies to this film, which I have not

       7 seen.     And if I were to do that, then am I not

       8 interfering with reaching down and basically

       9 invalidating the state process through the state courts

     10 before the state courts have even had an opportunity to

     11 rule on whether or not there's been a violation of this

     12 statute?

     13                 MR. BENNETT:       So the answer -- the short

     14 answer is no.        And let me explain why.               There's --

     15 there's two sets of facts here that are important for

     16 this case because of it's highly unusual nature, which

     17 your Honor alluded to at the start.                  So one set of facts

     18 concern the constitutional claim.                 That's the -- that's

     19 the only claim that's before the Court on the merits.

     20                 Can Section 43.25 be constitutionally

     21 applied -- be applied to the film Cuties consistent with

     22 the First Amendment?          That's the issue we've raised.

     23                 THE COURT:      Okay.

     24                 MR. BENNETT:       That's the only issue that's

     25 before the Court on that -- under the new indictments


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 30 of 110 PageID #: 539


                                                                                 30
       1 under 43.25.       The reason that the merits come into play

       2 here is because of the state's anticipated invocation of

       3 Younger abstention.         Now, what I mean by that is when

       4 a -- when the state or a state official pursues charges

       5 under which it has no hope of obtaining a conviction --

       6                THE COURT:      Okay.

       7                MR. BENNETT:       That's evidence of bad faith

       8 that goes to whether the equitable doctrine of the

       9 Younger abstention should apply and prevent the Court

     10 from reaching issues that it otherwise has original

     11 mandatory jurisdiction to reach.                 So when we talk about

     12 the lack of merit -- the utter lack of merit that 43.25

     13 as applied to Cuties poses, that doesn't go to the

     14 issues necessarily the Court needs to decide in term of

     15 the merits.        What it goes to is Mr. Babin's utter bad

     16 faith.

     17                 So because no reasonable prosecutor who

     18 watched Cuties -- as, again, corroborated by the utter

     19 non-indictment by any other prosecutor in America under

     20 any form of child pornography law -- that goes to bad

     21 faith.      But when we get to the other side, which is

     22 the side -- the other side of this issue, which is the

     23 merit of it, as applied to Cuties, 43.25, that can't

     24 go forward because it's unconstitutional under the

     25 First Amendment.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 31 of 110 PageID #: 540


                                                                                   31
       1                So your Honor's not invading the state -- you

       2 don't need to reach whether -- the issues of whether the

       3 statute applies or, you know, would -- do we need to let

       4 the state adjudicate the merits of --

       5                THE COURT:      And so I'm clear, if, in fact, we

       6 had actual sexual conduct of minor children portrayed in

       7 the film, then there would you no constitutional -- that

       8 would be pornography under the federal constitutional

       9 analysis, correct?

     10                 MR. BENNETT:       If -- yes.        If a film qualifies

     11 and actually has real sexual conduct as defined by Texas

     12 law and -- again, assuming that that Texas law is

     13 construed consistent with Ferber v. New York.

     14                 THE COURT:      Right.

     15                 MR. BENNETT:       In that case, it would be

     16 actual child pornography, and the indictment would be

     17 constitutional.         That's correct.

     18                 THE COURT:      Okay.

     19                 MR. BENNETT:       But that is not what we have

     20 here.

     21                 THE COURT:      Okay.     And so that's the

     22 distinction you're drawing here?

     23                 MR. BENNETT:       That's right.           And, again, I

     24 want -- we've cited some -- some colorful examples of

     25 the profound defects in Mr. Babin's theory of applying


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 32 of 110 PageID #: 541


                                                                                 32
       1 43.25 to Cuties.        One of them is a piece that's very

       2 critical of Cuties, and we've cited this.                 It's a piece

       3 by a Mr. Naulty.        If Mr. Babin's correct and Cuties

       4 shows real sexual conduct for purposes of Texas Penal

       5 Code law, Mr. Naulty is a felon because he put out a

       6 news story that cropped what he viewed as the most

       7 objectionable screenshots from the film and pixelated,

       8 you know, the most titillating parts -- if you're

       9 Mr. Naulty, I guess -- of -- of those screenshots,

     10 right, of the scenes from the film.

     11                 Under Fifth Circuit law, that's a violation

     12 of a child pornography statute.                You can't pixelate

     13 images that are actually child pornography and have any

     14 sort of defense even if it's a journalistic one.                   That's

     15 U.S. v. Matthews out of the Fourth Circuit.                  There's no

     16 such thing as a bona fide journalistic purpose defense

     17 to child pornography laws.             So if Mr. Babin's correct,

     18 Mr. Naulty's a felon under Texas Penal Code

     19 Section 43.25 or Texas Penal Code Section 43.26, which

     20 is related to 43.25.          That can't be the law.          That isn't

     21 the law because it -- Cuties is not child pornography.

     22                 So in light of all of that, the clear

     23 violation of the First Amendment -- that 43.25 -- would

     24 be a stretch to apply to Cuties.                 And the fact that

     25 viewed -- viewed objectively, if it can't ever be


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 33 of 110 PageID #: 542


                                                                                     33
       1 construed to meet the four corners of that, the Court

       2 can reach the merits because Younger abstention doesn't

       3 apply.     And, again, that -- that last part about why

       4 Younger abstention doesn't apply hinges on the

       5 definition of sexual conduct somewhat, right?                     Again, we

       6 commend U.S. v. Williams to the Court.                     There's also a

       7 great decision recently out of the -- out of the D.C.

       8 Circuit that sort of talks about how you treat

       9 catchalls.

     10                 And I guess I'd have to back up really quick

     11 here.      We are making something of an assumption.                     If you

     12 look at the indictments, Mr. Babin doesn't actually

     13 identify what part of 43.25 -- what actually constitutes

     14 sexual conduct.         He just says it's in there.               If you

     15 look at the definition of sexual conduct, there's a lot

     16 of explicit sexual acts listed there.                      And none of

     17 them -- and I won't repeat them here.                      I probably can't

     18 remember them all, but there -- they're serious, they're

     19 explicit, and none of them are present in the film.

     20                 Our best guess -- and it literally is a

     21 guess -- is that the state thinks that it amounts to the

     22 lewd exhibition of the genitals.                 And that word means

     23 something.       And this is where we go back to 43.262,

     24 which is the charges he first brought.                      Genitals is not

     25 the pubic area.         And the Texas legislature agrees with


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 34 of 110 PageID #: 543


                                                                                    34
       1 that because it uses distinct terms --

       2                THE COURT:      Or --

       3                MR. BENNETT:       It uses distinct terms to make

       4 that point in Section 262.             So there are no genitals

       5 visible at any point in Cuties.

       6                THE COURT:      What does the word "depict" mean

       7 in the statute?

       8                MR. BENNETT:       Depict just means show under

       9 its plain language.         It's not a defined term, but, you

     10 know, you could use the New Oxford International

     11 Dictionary.        And that's what it means.               Depict means to

     12 show.      To portray.

     13                 THE COURT:      So if one were to show a

     14 photograph of the area of a child, say, below the belt

     15 line but clothed -- so of the pubic area -- but that's

     16 not depicting or is it depicting the pubic area?                     It's

     17 the -- do you see what I'm saying?

     18                 MR. BENNETT:       I do.     There is a distinction

     19 between the two terms.           And this is where we would

     20 commend U.S. v. Williams and --

     21                 THE COURT:      Especially when that Statute 262

     22 talks about clothed or partially clothed.

     23                 MR. BENNETT:       Right.      Pubic area means pubic

     24 area.      It's a more generalized region.                 It could be

     25 front or back or clothed or unclothed.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 35 of 110 PageID #: 544


                                                                                 35
       1                THE COURT:      But could that, even if clothed,

       2 create some sexual interest -- prurient interest just by

       3 watching it whether the -- even if it is clothed --

       4 perhaps, even depending upon how the clothes are tight

       5 on the body or something else?

       6                MR. BENNETT:       I don't know whether it could

       7 create sexual interest.           I guess it depends on who you

       8 are, but that's not the focus of the statute.                 The focus

       9 of the statute -- when we look at catchall

     10 clauses like lewd exhibition -- and this is the point

     11 that Justice Scalia drives home in U.S. v. Williams.

     12 You interpret a catchall by its predecessors, right?

     13 You don't take it in isolation.                A catchall is

     14 interpreted under the canons of construction by its

     15 predecessors.

     16                 And if you look at those predecessors and how

     17 explicit those acts are and then you read "or the lewd

     18 exhibition of the genitals" -- and then it continues

     19 on -- other anatomical parts.               And it uses those

     20 anatomical parts, not in any general sense, but in their

     21 anatomical sense, such --

     22                 THE COURT:      Okay.

     23                 MR. BENNETT:       -- that you have to show those

     24 anatomical parts.

     25                 THE COURT:      I suppose I ultimately will have


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 36 of 110 PageID #: 545


                                                                                   36
       1 to look at the film.         And I know there is an issue

       2 involving the exhibition of the -- what is commonly

       3 referred to as the areola of a woman's breast.

       4                MR. BENNETT:       Correct.

       5                THE COURT:      And that's what then makes that

       6 potentially a violation of the statute.                   Although I

       7 understand your position is this lady was over the age

       8 of 18 at the time it was filmed and obviously at the

       9 time this movie was shown to the public.

     10                 But is it covered or uncovered?              Is that a

     11 bright line that we need to look for when we're looking

     12 through this?

     13                 MR. BENNETT:       It is an uncovered moment.

     14 The --

     15                 THE COURT:      No.      No.   But to define whether

     16 or not it would violate either of these two statutes.

     17                 MR. BENNETT:       So I think -- if I understand

     18 your Honor's question correctly, if you're asking does

     19 it -- does it -- do child pornography laws require

     20 nudity in every case?

     21                 THE COURT:      That's what I'm asking.

     22                 MR. BENNETT:       No.     The answer -- the simple

     23 answer is no.        But that's not saying that just because

     24 clothing is involved that it is child pornography.                       And

     25 that gets back to what -- the point I was making earlier


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 37 of 110 PageID #: 546


                                                                                   37
       1 about what a catchall does.             You have to interpret a

       2 catchall by its predecessors.

       3                And so if clothing is involved, that's -- if

       4 it's present, that doesn't -- you've got to look at in

       5 what way.      And this is where we get back to Williams and

       6 Hillie, which is if there is not nudity, it is a very

       7 close question.        But whatever the question is, it's got

       8 to look like real sexual conduct.                And that's an outlier

       9 issue that we don't have to get to, and that's not

     10 raised by this case.          And your Honor will have to watch

     11 the film to see what I mean by that, but it's not sexual

     12 conduct.

     13                 It doesn't imitate or look like or touch on

     14 any of the predecessors in the statute.                    And, again, I

     15 want to emphasize you know that because this is -- this

     16 is an indictment of one.            No federal, no state, or any

     17 prosecutor, other than Mr. Babin, has brought these

     18 charges despite the fact that for two years it

     19 streamed -- for almost two years it streamed

     20 continuously on Netflix.

     21                 We've provided those arguments to your Honor

     22 about why it would be unconstitutional to stretch it

     23 here.      And, again, that's the part of Justice Scalia's

     24 opinion in U.S. v. Williams that addresses this issue

     25 that just fleeting or, you know -- even if it's lewd is


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 38 of 110 PageID #: 547


                                                                                  38
       1 not enough.       It's got to be sexually explicit conduct.

       2 And none of that's in this film.

       3                So as -- as Mr. Babin tries to pursue these

       4 charges in violation of Cuties' First Amendment rights,

       5 it creates an as-applied First Amendment violation.                     And

       6 we're likely to prevail on that for all the reasons

       7 we've shown in our motion for TRO and preliminary

       8 injunction.       So moving beyond the likelihood --

       9                THE COURT:      I want to talk a little bit about

     10 the irreparable harm.

     11                 MR. BENNETT:       Sure.

     12                 THE COURT:      It's a conviction -- it's not a

     13 conviction of the specific executives of Netflix that

     14 they're seeking.         It's a conviction of a corporation,

     15 which admittedly might -- I don't know -- hamper or

     16 endanger the reputation of the company or something like

     17 that, I suppose.         But, practical matter, what happens if

     18 a corporation is found guilty of a crime?

     19                 MR. BENNETT:       So under --

     20                 THE COURT:      What is the harm?

     21                 MR. BENNETT:       So there's the practical piece,

     22 which is what actually happens if there's a conviction,

     23 and then what's the irreparable harm.                      Taking the

     24 practical piece first, under Texas law, there's fines

     25 involved for a corporation and obviously the label of


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 39 of 110 PageID #: 548


                                                                                    39
       1 child pornographer and felon, which carries weighty

       2 consequences in our society.              And not just for -- to be

       3 convicted of that, to be accused of that --

       4                THE COURT:      Would it also then, perhaps, be a

       5 chilling effect on the company or, for that matter, any

       6 of their competitors in deciding whether or not to put a

       7 film on their streaming network or maybe a television

       8 station from showing a film or something of that nature?

       9                MR. BENNETT:       Yeah.     And that gets to the

     10 side that I was about to shift to, which is the

     11 irreparable harm side.           A company -- it's not just

     12 Netflix that suffers irreparable harm.                     And this maybe

     13 ties in a little bit with the public interest.

     14                 As Netflix is faced with felony indictment

     15 for, first, lewd exhibition of visual materials

     16 depicting a child under 262, but now child pornography,

     17 it has to make weighty decisions.                 And we've pointed

     18 this out in our brief under Subsection 2, Part B where

     19 it has to weigh can it put these kinds -- it has a

     20 First Amendment right to do it.                Cuties is protected by

     21 the First Amendment because it's neither obscene nor

     22 child pornography, again, under any sensible

     23 construction consistent with the constitution.

     24                 So then it has to be put on the horns of a

     25 dilemma to sacrifice its First Amendment rights, but


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 40 of 110 PageID #: 549


                                                                                   40
       1 also the First Amendment rights of Netflix's subscribers

       2 to watch and view those kinds of materials.                   And if this

       3 is -- and this gets to the overbreadth somewhat.                    If

       4 this production qualifies as child pornography in Texas

       5 under 43.25, there's an awful lot of stuff on the

       6 internet that immediately qualifies for the same felony

       7 label.     YouTube, Instagram, and TikTok.                We have it in

       8 an appendix that we provided to the Court.                   It's

       9 attached to our habeas petition.                It's Exhibit 5 or 6 to

     10 the complaint or the TRO.             There is a vast amount of

     11 materials that exceed anything shown in Cuties but

     12 certainly don't encroach the actual line of child

     13 pornography that millions of people would suddenly

     14 become felons for sharing, viewing, discussing.

     15                 The irreparable harm is profound.              Any time

     16 the government brings criminal charges against any

     17 person, whether that person's an individual or a

     18 corporation, exceeds its constitutional authority to

     19 take that kind of weighty, oppressive action is

     20 irreparable harm as a matter of law.

     21                 THE COURT:      Give me an example of a scene if

     22 inserted in this movie that might make it a violation of

     23 43.25?      What would it take to push it over the edge?

     24                 MR. BENNETT:       So -- I mean, the easy ones are

     25 if it's something prior to the predecessor -- those are


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 41 of 110 PageID #: 550


                                                                                   41
       1 easy, right?       Actual sex, simulated sex.             And that's a

       2 very, like, defined -- it is a very defined term that

       3 means it looks like two people -- two minors or an adult

       4 and a minor having relations.              Those are the easy ones.

       5                When it comes to lewd exhibition, it gets a

       6 little more spread out.           But any lewd exhibition, such

       7 as the one in Williams, would -- that actually shows

       8 real sexual conduct -- that butts up against but maybe

       9 doesn't quite actually go toward lewd exhibition's

     10 predecessors would be that kind of thing.                   So -- I have

     11 to confess that I can't --

     12                 THE COURT:      Right.

     13                 MR. BENNETT:       I don't watch, you know, a lot

     14 of explicit things, so maybe I lack imagination.                   But

     15 there are cases out there that your Honor can look at.

     16 Williams is a good example.

     17                 THE COURT:      Well, it's been said that

     18 pornography is something you know when you see it, but

     19 maybe that's not exactly a very clear defined standard.

     20                 MR. BENNETT:       Well, it's certainly not.         And

     21 I think there's a lot of that going on in these

     22 underlying indictments.

     23                 THE COURT:      Right.

     24                 MR. BENNETT:       But, luckily, that's why we

     25 have the supremacy of federal law and the -- and the --


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 42 of 110 PageID #: 551


                                                                                   42
       1 what the supreme court has said is within bounds and

       2 outside of bounds.         And we've discussed this at length

       3 in our brief, but Ferber provides all of the guidance

       4 the Court needs to know what's in and what's out when it

       5 comes to child pornography.

       6                And that's if you construe a catchall too

       7 broadly -- and Ferber admonishes against this -- you

       8 will exceed -- child pornography is not limitless.                      It's

       9 not standardless.         It has -- even that category, as

     10 broadly as we to need to interpret it to protect

     11 children and as broadly as Netflix does interpret it to

     12 protect children, even that has limits.                    And if you

     13 interpret it too broadly, you go outside those limits,

     14 and it violates the First Amendment.

     15                 THE COURT:      You're emphasizing First

     16 Amendment, but I believe in your complaint you also make

     17 reference to the Fifth and Fourteenth Amendments.

     18                 Do you want to give me a nutshell

     19 articulation of those claims?

     20                 MR. BENNETT:       Sure.     So we raised a facial

     21 challenge to Section 43.262 for being unconstitutionally

     22 vague.

     23                 THE COURT:      Right.

     24                 MR. BENNETT:       And the reason for that is

     25 because the legislature in crafting Section 43.262


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 43 of 110 PageID #: 552


                                                                                      43
       1 jumbled a number of distinct areas of law and failed to

       2 define essential terms that would give the public notice

       3 about what they need to do or not do to avoid felony

       4 prosecution by the state of -- state's agents.                 So, for

       5 example, the Section 43.262 includes the phrase "lewd

       6 exhibition of the genitals or pubic area," but that

       7 phrase for a lot of textual, structural, and legislative

       8 purpose reasons can't be construed to

       9 mean the same thing as lewd exhibition under

     10 Section 43.25(a).

     11                 And the reason for that is several.             I'll

     12 just give a quick couple, and your Honor can look at our

     13 argument in Exhibit 6 if you want to -- all of the

     14 reasons, but just a few quick ones.                  When it comes to

     15 lewd exhibition, it's its own term in 43.262.                  And the

     16 reason for that is because under 43.262(a,) the

     17 legislature cites the definition of sexual conduct of

     18 which lewd exhibition is a catchall under 43.262(a).

     19 However, if you look at the operative provisions of

     20 43.262(b,) the legislature never invokes that term at

     21 any point in the criminal elements of the statute.                       It

     22 doesn't ever use sexual conduct.

     23                 What it does is it says -- it reduces the

     24 element to lewd exhibition.              And we've cited to the

     25 cases, your Honor.          But -- but just because words are in


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 44 of 110 PageID #: 553


                                                                                   44
       1 common across two different statutes doesn't mean they

       2 should be construed the same and quite often it means

       3 they should not be.         When statutes are enacted like

       4 these two have been on a -- forty years apart -- 43.25

       5 was originally enacted in 1977, and 43.262 was enacted

       6 in 2017.      So, you know, that's a lot of years

       7 difference, and the purposes of the two statutes are

       8 different.

       9                And just a quick example.             Typically, Texas

     10 uses at least for -- for photos -- as far as I'm aware,

     11 there's not a film case that applies -- what's called

     12 the Dost factors, but Texas courts typically apply what

     13 are known as the Dost factors to define whether a

     14 picture, a still photo, constitutes the lewd exhibition

     15 of the genitals for purposes of 43.25 or .262.                  Dost

     16 can't apply here.          And the reason for that -- to decide

     17 what lewd exhibition means for purposes of 43.262.                       And

     18 the reason for that is a couple of textual clues.                   One,

     19 the legislature used a completely different kind of

     20 wording when it came to lewd exhibition than it did in

     21 43.25(a).

     22                 Two, the legislature in enacting 43.262

     23 expressly eschewed Dost.            In the earliest version of

     24 43.262 -- the earliest version of that statute actually

     25 listed all of what are known as the Dost factors in the


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 45 of 110 PageID #: 554


                                                                                 45
       1 statutory language.         There's no floor debate.          We don't

       2 know why.      But at some point between its introduction on

       3 the house floor and its coming out of committee for

       4 passage on the floor, all of those Dost factors were

       5 removed.      And there's a really easy textual reason for

       6 that.     Under Dost, the presence of clothing -- and this

       7 goes to another reason why lewd exhibition isn't present

       8 under the Section 43.25 indictments -- but clothing's a

       9 mitigating factor.

     10                 We've cited cases in -- not necessarily in

     11 this TRO motion, but certainly in our habeas petition

     12 that we've attached -- where the Fifth Circuit's held

     13 that you can't convict somebody when clothing is present

     14 under the circumstances at least of that case.                  Because

     15 under Dost, if clothing's present, that cuts against a

     16 finding of lewd exhibition.              So clothing is not a

     17 mitigating factor under 43.262.                It's an incriminating

     18 factor.      And so you can't construe -- given all these

     19 textual issues before we even get to the legislative

     20 purpose problem, you can't construe lewd exhibition from

     21 43.25 to mean the same thing as 43.262.

     22                 Now, the reason that matters for vagueness

     23 reasons is when you use a phrase like "lewd exhibition,"

     24 like Ferber admonished, like the Texas Court of Criminal

     25 Appeals has held at least three times, you've got to


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 46 of 110 PageID #: 555


                                                                                     46
       1 provide, the public essentially, guidance about what it

       2 means.

       3                You know, you can't use a phrase like "lewd

       4 exhibition" that can be so broadly construed that you

       5 don't apply -- also enact and tell executive officials

       6 what it means when they enforce it.                 So they can't just

       7 make it up on the fly and sort of adopt the "I know it

       8 when I see it" procedure.            And when -- we've cited the

       9 cases in our petition.          But when you look at those

     10 words, undefined as they are, not construed consistent

     11 with 43.25 because that would be inappropriate and would

     12 contradict the legislature's intent, you have no

     13 standard.       And that in and of itself would be reason

     14 enough to find it unconstitutionally vague, but it gets

     15 worse.

     16                 If you look at 43.262(b)(2,) this is the

     17 oddest part of the statute.              Obviously concerned that

     18 this new world about -- they were about to embark in --

     19 the legislature -- they jettisoned Dost and incorporated

     20 only partially Miller v. California's jurisprudential

     21 benchmark touchstone requirements.                  There are four or

     22 five Miller requirements.             It has to be patently

     23 offensive to the average person under community

     24 standards and all these other things.                      262 has none of

     25 those.      It only has two Miller elements, which is


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 47 of 110 PageID #: 556


                                                                                 47
       1 appeals to the prurient interest in sex, which we've

       2 talked about, and lacks -- it has no serious artistic or

       3 other public value.

       4                When you look at that middle element, (b)(2,)

       5 anybody who reads the statute and sees that it -- that

       6 it -- it applies to clothed or partially clothed

       7 children who lewdly exhibit -- whatever that means --

       8 their pubic area, it -- at that point that second

       9 element becomes a mystery.            Because, as I've argued

     10 previously, if you're looking at that element and you

     11 take it on its face -- and when we step back and we look

     12 at the canons of construction -- when you have a term

     13 like that, appeals to the prurient interest in sex, that

     14 for 50 years has meant one thing and only one thing when

     15 applied to visual materials, that's presumptively the

     16 definition that the Texas legislature intended to apply.

     17 But there -- there's no application of a lewd exhibition

     18 of clothed children that could ever appeal to the

     19 prurient interest in sex given the, again,

     20 well-established gloss about what that phrase means.

     21                 So a member of the public reading the statute

     22 about what appeals to the prurient interest in sex would

     23 have no clue about what to do to avoid prosecution.

     24 Because under any reasonable construction that the

     25 standard -- the technical standard construction of that


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 48 of 110 PageID #: 557


                                                                                 48
       1 term, you cannot as a matter of law appeal to the

       2 prurient interest in sex in clothing lewdly exhibiting

       3 your pubic area.        And we've cited cases in a footnote

       4 about what it takes to show that element of appeals to

       5 the prurient interest in sex.              And no one could think --

       6                THE COURT:      Let me ask you a question.

       7                MR. BENNETT:       Yeah.

       8                THE COURT:      I understand that the producer of

       9 this movie had a view that this -- this film addresses

     10 some issues that she felt needed to be addressed in

     11 society and basically kind of suggesting that there's

     12 been a decline in moral values.                Children being

     13 neglected.       They feel -- Amy, I think, is the name of

     14 the character.         She's 11, and she's feeling vulnerable.

     15 And she needs the support, and she needs -- and so she,

     16 you know, seeks this -- to be part of the crowd, joins

     17 up with a dance troop, and it kind of goes on from

     18 there.      And from that, I think maybe the producer is

     19 trying to say, look, world, this is how far we've come,

     20 and it has some consequences.

     21                 Now, is that -- the question is:            Does

     22 that -- does that then, in your mind, qualify at least

     23 as, perhaps, either literary or artistic or political

     24 value?      And as a subset, let me even say -- I mean, if

     25 you want to see nudity, you can go to virtually any


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 49 of 110 PageID #: 558


                                                                                    49
       1 major art museum in the world, but it has artistic --

       2 it's in an art museum, for crying out loud.                 Now,

       3 whether or not someone -- you say, well, that exhibits

       4 the pubic area of someone.            That's number one, yes.

       5 Does it appeal to the prurient interest in sex?                    Well,

       6 I'll spot you that one maybe.              I mean, I'll just give

       7 you that one.       But even if you had one and two, and

       8 since the statute uses the word "and," you have to have

       9 all three in order for it to be a violation.                 I'm kind

     10 of surprised you haven't talked more about that and what

     11 is the social value -- the literary, artistic, or

     12 political value of -- in other words, you might have one

     13 and two, but when we get to number three, it may be -- I

     14 don't know.        It may have tremendous literary, artistic,

     15 or political value as distasteful as it may be.

     16                 MR. BENNETT:       So three responses.        And I

     17 think this gets to where we're trying to walk this

     18 tight -- this kind of tightrope between these two worlds

     19 of the merits in this case and the reason the merits are

     20 implicated in the state court case especially as to that

     21 element.

     22                 So no serious artistic, literary, or --

     23                 THE COURT:      Political --

     24                 MR. BENNETT:       -- public value.        Our film

     25 certainly -- it -- no one -- no reasonable prosecutor


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 50 of 110 PageID #: 559


                                                                                  50
       1 could accuse it of having no such value.                  That goes to

       2 bad faith and why Younger's inappropriate because a

       3 prosecutor who watched Cuties could never think to get a

       4 conviction under that because it's profoundly

       5 important -- it has profound value, and it's not for

       6 everybody.      We understand.        Netflix knows that.        Not

       7 everyone's going to like the film.                 But the message that

       8 is portrayed in that film are -- is -- we spend the

       9 entire first six pages of our fact section in our TRO

     10 explaining how profoundly important the film's message

     11 is.

     12                 So the -- for purposes of the merits of the

     13 underlying -- and, again, that's not implicated in the

     14 pending charges.         That was only for purposes of 262.

     15 Because under Ferber and consistent with the

     16 constitution, if it's really child pornography, you

     17 don't have to show it lacks any serious artistic value.

     18 That's out.        That's a Miller element that does not apply

     19 to pornography.         It matters for purposes of 262 because

     20 the legislature sort of -- in trying to create and

     21 criminalize this new category of banded speech, it's

     22 straddled two horses.           Part A or (b)(1) is sort of the

     23 Ferber horse, and then the other two elements, (b)(2)

     24 and (b)(3,) are the Miller horse.

     25                 And you can't straddle both because it just


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 51 of 110 PageID #: 560


                                                                                      51
       1 makes everything confused and indecipherable.                     So that's

       2 where it matters for purposes of the vagueness argument.

       3 But for purposes of our facial constitutional challenge,

       4 the Lowry court already made this point for us.                     In

       5 trying to prosecute Mr. Lowry, the judge -- and it came

       6 up again during oral argument in Lowry.                     I watched it.

       7 The judge asked about the Netflix case, Mr. Babin's

       8 case.

       9                THE COURT:      Yes.

     10                 MR. BENNETT:       And specifically about no

     11 serious literary, et cetera, value.                  At that point, the

     12 Harris County prosecutor pulled up -- and they did it

     13 again in oral argument -- and said, "I can't speak for

     14 another district attorney's indictment.                      We think it

     15 does have artistic, literary, et cetera, value."                         In

     16 other words, they don't agree with Mr. Babin.                      And that

     17 gets back to the vagueness problem, which is when a

     18 prosecutor without proper guidance from the legislature

     19 indicts in -- and pursues felony charges against

     20 anyone -- any individual, any corporation -- it confuses

     21 what the statute means.            And we're all left to guess,

     22 well, geez, if Cuties doesn't meet that element, what

     23 does?

     24                 Again, not that the message -- the film's for

     25 everyone.       You may really dislike it.                 We've cited


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 52 of 110 PageID #: 561


                                                                                 52
       1 articles in both our motion here and the habeas petition

       2 in the state court where lots of people don't.                 And we

       3 don't have a problem with that.               People are welcome to

       4 their opinions and to discuss them because we hope it

       5 will mean that they discussed the profound messages of

       6 the film.      But in any event, with the film having such

       7 merit and such importance, we find ourselves in -- we

       8 found ourselves indicted except -- until it was on the

       9 eve of the hearing where that was going to be

     10 adjudicated.        And now we're under something else where

     11 we can't argue any of that, right?                  We can't argue that

     12 because under 43.25 in Ferber, we don't get to point

     13 those facts out anymore.

     14                 So I think that -- again, that's not a merits

     15 issue.      That goes to why this -- why Younger abstention

     16 shouldn't apply.         So when we get to irreparable harm, we

     17 have that.       It's presumed as a matter of law.             I will

     18 also say under the Fifth Circuit's authorities -- we've

     19 cited Thompson and some others.                If you have bad faith

     20 to justify not abstaining under Younger, irreparable

     21 harm is presumed again.            So we have presumptive

     22 irreparable harm twice over.

     23                 Balancing the public interest.             And, again,

     24 we recognize the extraordinary nature of what we're

     25 asking here.        We did not do this lightly.            But it's the


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 53 of 110 PageID #: 562


                                                                                  53
       1 extraordinary nature of what we face having five

       2 indictments that are violative of the constitution.                     And

       3 that's -- when we weigh the public interest -- it is in

       4 the public's interest to ensure that officials are held

       5 to the constitution, which they took an oath to support.

       6 It's in the public's interest to make sure that persons,

       7 citizens, companies vindicate their company -- their

       8 First Amendment and other rights -- due process

       9 rights -- that's the vagueness issue -- even if there

     10 are criminal -- pending criminal charges when they --

     11 violations are as serious as the ones that their records

     12 shows are present and that the law says entitled Netflix

     13 to a federal forum and to federal relief.

     14                 So it is in the public's interest to proceed

     15 with a TRO to enjoin at least for the period that

     16 Rule 65 of the federal rules allow, and then we'll come

     17 back at an injunction hearing.                But it is always in the

     18 public's interest to ensure that state officials,

     19 especially those that willed the awesome power of the

     20 criminal law and the criminal process, are held at bay

     21 and held consistent with what the law requires them to

     22 abide by.

     23                 The last element is bond.             I mean, I'm not

     24 going to spend too much time talking about that.                   We

     25 don't think a bond's necessary here.                   The Fifth Circuit


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 54 of 110 PageID #: 563


                                                                                  54
       1 said you don't have to impose a bond.                     I don't know

       2 what -- bonds are intended to show if you enjoined

       3 something what --

       4                THE COURT:      Hurting somebody's financial

       5 interest or something --

       6                MR. BENNETT:       Right.      And I don't know

       7 what -- I can't conceivably think of what that would be

       8 here.

       9                THE COURT:      Some nominal bond, I suppose.

     10                 MR. BENNETT:       Yeah.     And we're okay with

     11 that.      We've suggested 1,500, which we can do.

     12                 But what I want to circle back to just to --

     13 kind of in closing is some of the other --

     14                 THE COURT:      That would take that off -- that

     15 would take that off the map, and we wouldn't have to

     16 worry about that.

     17                 MR. BENNETT:       Right.      Some of the other

     18 arguments that the state raised this morning in its

     19 brief -- aside from Younger abstention, it asserted Heck

     20 and some others.         Those just don't apply, and it doesn't

     21 apply on the face of the state's own brief.                      Heck is an

     22 abstention doctrine, an exhaustion doctrine that applies

     23 only when a conviction's been held.                  There's no

     24 conviction here.         It also only applies when damages are

     25 at issue, and the very title of our complaint is a


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 55 of 110 PageID #: 564


                                                                                 55
       1 complaint for injunctive relief.                Netflix isn't

       2 seeking damages.        It only wants an injunction to

       3 enjoin unlawful prosecution that's inconsistent with the

       4 First Amendment.

       5                So 1983 affords injunctive relief.

       6 Prosecutorial immunity is not in the least invoked when

       7 only injunctive relief is sought.                So they've raised

       8 that argument, and it's wrong on the law.                 And then,

       9 again, in terms of Heck exhaustion, it doesn't even

     10 apply where there's no conviction.                  And, again, no -- no

     11 request for money damages, which we haven't asserted.

     12                 So they have no defense.             Younger abstention,

     13 we've already acknowledged and shown that it doesn't

     14 apply for all the reasons in cases evident in the fact

     15 and the law.        So really it's just a question of

     16 likelihood of success, which we've shown, and they've

     17 not rebutted.        They have not -- they have not taken any

     18 time in the response -- for purposes of the TRO today to

     19 show why we wouldn't be entitled to that relief.

     20                 So we ask for the TRO, that Mr. Babin be

     21 enjoined, and all of the people under Rule 65(d) that

     22 that would mean, right?            That doesn't mean just

     23 Mr. Babin.       His agents, his attorneys, and all those

     24 in -- that act in concert with him be prohibited from

     25 pursuing any charges under 43.262, re-indictment,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 56 of 110 PageID #: 565


                                                                                 56
       1 convening a grand jury for that purpose, whatever it is,

       2 or pursuing in the state court the four new indictments

       3 under 43.25 because they're profoundly unconstitutional

       4 as applied to the film Cuties --

       5                THE COURT:      Well, let's -- let's talk about

       6 that.

       7                MR. BENNETT:       Yes.

       8                THE COURT:      The indictments exist.         A TRO

       9 would be good for 14 days.            I mean, given the history

     10 of, should we say, the lack of prosecution for some

     11 400 days, abstaining from further criminal action for

     12 14 days doesn't seem to be really much of an issue.

     13 It's unlikely that you'd be forced to defend a criminal

     14 case sometime in the next 14 days, fair?

     15                 MR. BENNETT:       Certainly not to defend, but

     16 there are pre -- so, for example, arraignment

     17 typically --

     18                 THE COURT:      To take -- in other words --

     19 because what if at the end of 14 days and we're here

     20 again -- and I'm going to ask you what you envision down

     21 the road at a hearing on a preliminary injunction, which

     22 is sometimes essentially the same facts as a permanent

     23 injunction, which sometimes there's not even a need for

     24 that subsequent proceeding.               But during these -- if you

     25 were unsuccessful at the -- if you were successful with


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 57 of 110 PageID #: 566


                                                                                    57
       1 the TRO, but, you know, after more of a production -- I

       2 mean, usually for these TROs, the defendant's not even

       3 here.     And -- but give them an opportunity for a fuller

       4 presentation of the case and, perhaps, give you an

       5 opportunity of a fuller presentation of your case.                      But

       6 if you were unsuccessful at that point, then you

       7 wouldn't expect them to have to go back to -- if they

       8 were so inclined to re-indict you, correct?                    In other

       9 words, we'd just hold the current indictments in

     10 abeyance.       Now, obviously, if you're successful

     11 ultimately, then that's -- that's a different story, but

     12 I'm looking at the other end.               At the end of 14 days,

     13 where are we?        Are we just basically saying --

     14 essentially staying all -- the indictments are still

     15 there, but they're not necessarily destroyed.                     They're

     16 just not being acted upon.             Is that what you're asking

     17 for?

     18                 MR. BENNETT:       So, ultimately, what we're

     19 asking for is --

     20                 THE COURT:      Ultimately.        But I'm talking

     21 about over the next 14 days.               I mean, what if you were

     22 ultimately -- ultimately unsuccessful?                     Would you -- or

     23 would you be saying those indictments would no longer

     24 have any -- then if he so choose, he'd have to go back

     25 and get a new indictment?


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 58 of 110 PageID #: 567


                                                                                 58
       1                MR. BENNETT:       No.    So the way that the case

       2 law comes down on these issues when you're dealing with

       3 a 1983 action against --

       4                THE COURT:      Right.

       5                MR. BENNETT:       -- an individual state

       6 official -- we're not enjoining state courts.                  Not

       7 asking for that.        What we're asking for is an injunction

       8 against the official from pursuing -- right --

       9 prosecuting -- anyone who acts in concert with him --

     10 prosecuting Netflix while the merits of Netflix's

     11 constitutional challenges are adjudicated in federal

     12 court.

     13                 THE COURT:      Okay.     And initially that would

     14 be for 14 days then, and we come back and do -- now,

     15 what do you envision -- and I'm not asking for trial

     16 strategy or anything, but -- and I'm -- do you have --

     17 do you have more that you want to present today?

     18                 MR. BENNETT:       No, your Honor.         I think our

     19 presentation in terms of showing ourselves likely to

     20 succeed and that we're entitled to an injunction --

     21 we've made our case, pending whatever they have to say.

     22                 THE COURT:      All right.        And at some point,

     23 we'll need to watch the video, but I suppose -- do we do

     24 that here?       Do we do that in chambers privately or

     25 however we want to do it?             What do you envision?


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 59 of 110 PageID #: 568


                                                                                      59
       1                MR. BENNETT:       Certainly, if your Honor wants

       2 to watch the video with us present in court, we have

       3 discs, and we can make that happen.                 I -- I would be

       4 fine if your Honor just watched it in chambers.                   I don't

       5 think, you know, we need to have a -- we're not afraid

       6 to or we're fine to.

       7                THE COURT:      No.     I understand.

       8                MR. BENNETT:       But we -- but it's certainly up

       9 to your Honor's discretion in terms of that.

     10                 THE COURT:      Okay.     Okay.      All right.   Well,

     11 that's fine.

     12                 Back to my original question.              What do you

     13 anticipate in 14 days assuming a TRO is granted?                    What

     14 do you anticipate the nature of that hearing to be?

     15                 MR. BENNETT:       And so we think largely

     16 98 percent of this case is just a legal issue.                    The

     17 facts are undisputed, and the facts are the film.                       It

     18 can't be changed.          The film is the film.           Nothing is

     19 going to change about that film.                 It is what it is.           The

     20 question is:        How does the law apply under the First

     21 Amendment or the Fifth Amendment to that film and how do

     22 those come out?

     23                 So it's something of a mixed question in the

     24 sense that there are some facts involved, but those

     25 facts are not and cannot be disputed in terms of what we


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 60 of 110 PageID #: 569


                                                                                  60
       1 have to prove.

       2                THE COURT:      Uh-huh.

       3                MR. BENNETT:       Now --

       4                THE COURT:      Well, would you -- would you put

       5 on some evidence of, for example, the literary,

       6 artistic, political value of the case?

       7                MR. BENNETT:       No.    We don't have to.      That's

       8 more to the merits.         So if we were proceeding in state

       9 court, certainly we would in that context.                 But that --

     10 those facts -- although we'd be happy to continue

     11 developing that certainly in court, it's not relevant to

     12 the First Amendment challenged.                That's a baseline,

     13 bottom line constitutional principle.

     14                 THE COURT:      Okay.

     15                 MR. BENNETT:       And so your Honor can watch

     16 the film and make that determination as a -- as a

     17 matter of law.         The reason I held out the 2 percent is

     18 because of the state's assertion of Younger abstention.

     19 That's -- the burdens under a preliminary or even a

     20 permanent injunction under the Supreme Court's

     21 decision in -- it's a very long name -- it's a

     22 Brazilian/Portuguese name.               The burdens of injunctive

     23 relief track the burdens of trial.                  So for purposes of

     24 preliminary injunctive relief, we just have to make our

     25 burden and show that our affirmative claims are met.                     If


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 61 of 110 PageID #: 570


                                                                                 61
       1 they have defenses like Younger abstention, it's their

       2 obligation to meet their burden.                But if -- the burden

       3 then shifts back to us, we might have to develop some

       4 facts to refute some of that.

       5                I don't anticipate that's going to be the

       6 case.     It could be the case.

       7                THE COURT:      Okay.

       8                MR. BENNETT:       So that's the only reason why I

       9 hung out the 2 percent caveat, but we think largely this

     10 is a pure issue of law for the Court to decide because

     11 the facts are not and cannot be disputed.

     12                 THE COURT:      Okay.     All right.       Thank you very

     13 much.

     14                 Let me just -- before I -- well, let me ask

     15 the other side:         Do you have a presentation you would

     16 like to make today?

     17                 MR. LINDSEY:       I do, your Honor.

     18                 THE COURT:      All right.        I've given the

     19 plaintiff in this case -- we did start a little bit

     20 late -- but at least an hour and a half or more.

     21                 About how much time do you feel that you

     22 need?

     23                 MR. LINDSEY:       Depending on the questions that

     24 are asked --

     25                 THE COURT:      I understand.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 62 of 110 PageID #: 571


                                                                                 62
       1                MR. LINDSEY:       -- not nearly that much.         I

       2 think I can probably address everything that has been

       3 raised in a half hour or less.

       4                THE COURT:      Okay.     I'm sure that -- I mean,

       5 the question is -- and maybe it's wise that we do it --

       6 take a lunch break and come back and allow you to --

       7 we're definitely going to take some sort of a recess

       8 because we've had everybody in place for almost two

       9 hours.     And I think that's -- we just need to have a

     10 comfort break at the very minimum, but -- maybe it might

     11 be wise that we go ahead and break.

     12                 Do you all have a -- break for lunch and come

     13 back, say, at 1:00 o'clock.              Let you continue and then,

     14 I assume, you would probably have some sort of rebuttal

     15 to that.       So we could be here -- if we came back at

     16 1:00, we could be here maybe another hour.                 I'm not

     17 trying to put limits on anybody.                 I'm not suggesting

     18 that.      We -- the Court has other matters to tend to,

     19 including a trial starting -- a six-day trial starting

     20 next week, but -- we've already had the pretrial hearing

     21 on yesterday, but we'll -- we have a lot to absorb,

     22 but -- I don't know.          What do you all want to do?            I can

     23 give you a break -- lunch break and then come back and

     24 finish.

     25                 MR. LINDSEY:       I think my vote would be to


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 63 of 110 PageID #: 572


                                                                                  63
       1 just take a comfort break and -- like maybe 10,

       2 15 minutes and then proceed.

       3                THE COURT:      What do you want to do?

       4                MR. BENNETT:       Yeah.     If that works for your

       5 Honor and the staff -- I talk kind of fast, so I might

       6 have been overworking some folks.

       7                THE COURT:      I understand.         Let me talk to my

       8 staff.

       9                Let's take about a -- let's go ahead and take

     10 a 20-minute break and report back here at about 12:15,

     11 okay?

     12                 (A recess was taken at this time.)

     13                 THE COURT:      Thank you.        And please be seated.

     14                 All right.      Mr. Lindsey, are you going to go

     15 forth now?

     16                 MR. LINDSEY:       I am, your Honor, with your

     17 indulgence.

     18                 THE COURT:      Yes, please.

     19                 MR. LINDSEY:       Would your Honor mind if I

     20 stayed right here instead of decamping --

     21                 THE COURT:      Are you needing to use your

     22 computer or --

     23                 MR. LINDSEY:       I believe I will.        I can move.

     24                 THE COURT:      And there's -- yeah.         It might be

     25 a little better if you can put your computer there.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 64 of 110 PageID #: 573


                                                                                 64
       1                MR. LINDSEY:       Yes, sir.       Your Honor, I will

       2 make every effort to be as surgical as possible under

       3 the circumstances.

       4                THE COURT:      Well, I want you to take as much

       5 time as you need in order to articulate your defense in

       6 this case.

       7                MR. LINDSEY:       Yes, sir.

       8                First, I wanted to clear something up that

       9 opposing counsel said about our response.                 There is no

     10 suggestion that the Younger doctrine would apply to the

     11 charge under -- would apply to the charge under 43.262.

     12 I believe I made that clear in the argument.                  I titled

     13 it as only applying to 43.25.               And also in the

     14 conclusion of that section --

     15                 THE COURT:      So you have no objection to the

     16 Court abstaining for any 265 evaluations?                  Is that what

     17 you're saying?

     18                 MR. LINDSEY:       Well, what I'm saying is, your

     19 Honor, the Younger abstention doctrine does apply to

     20 43.25.

     21                 THE COURT:      Right.

     22                 MR. LINDSEY:       Because there's an ongoing

     23 criminal prosecution.

     24                 THE COURT:      Okay.

     25                 MR. LINDSEY:       I believe the state -- the case


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 65 of 110 PageID #: 574


                                                                                 65
       1 law is clear that it would not apply currently to 43.262

       2 because there is not an ongoing matter.

       3                THE COURT:      All right.        So we've got that off

       4 the table.      That's good.

       5                MR. LINDSEY:       Yes, sir.

       6                So tackling 43.25 first, as opposing counsel

       7 says, this is a very high burden, and the three elements

       8 that you have to meet for Younger are very clearly met

       9 here.     We have an ongoing prosecution -- an ongoing

     10 state judicial proceeding.             That's admitted.       Important

     11 interest subject matter proceeding is implicated.                   I

     12 don't believe that's at issue.                And the state

     13 proceedings must afford an adequate opportunity to raise

     14 constitutional challenges.             I don't think that's at

     15 issue.      Constitutional challenges can be raised in

     16 pretrial motions.          They can be raised in front of the

     17 jury.      They can be raised in front of the appellate

     18 court.      There are avenues here.

     19                 So what we have from opposing counsel is a

     20 reliance on bad faith tactics.                No hope of conviction.

     21 But what we don't have is any actual demonstration of

     22 that.      What we are relying on here is speculating

     23 Mr. Babin's motives.          It sounded to me that the mere act

     24 of withdrawing a charge and filing a different charge in

     25 the face of a writ must be retaliation per se.                  There is


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 66 of 110 PageID #: 575


                                                                                 66
       1 no evidence of causation here.               There is no evidence of

       2 what was going on in Mr. Babin's mind.                    There's simply a

       3 substitution of charges.           There's nothing indicating

       4 actual retaliation.         So that doesn't overcome Younger.

       5                And then we raised several questions

       6 indicating that the Court should find that the statute

       7 is unconstitutional on its face.                And so the Court must

       8 step in and stop this before it gets started.                    The

       9 problem is every single aspect of this are jury

     10 questions.       Does the conduct fit the statute?                That's a

     11 jury question.         And once the jury resolves it, it's a

     12 question for the appellate court.                 Is this a matter of

     13 artistic value?         First of all, it doesn't apply to

     14 43.25, but even if it did, this is a matter decided by

     15 community standards.          And a jury decides that, and an

     16 appellate court decides that.               There's simply nothing

     17 that has been raised here that the Court needs -- this

     18 Court needs to step in that should not be resolved in a

     19 state court.

     20                 THE COURT:      I want to ask you with regard

     21 to -- to the fact that there is still this pending

     22 evaluation of 43.262 --

     23                 MR. LINDSEY:       Yes, sir.

     24                 THE COURT:      -- for which you've said the

     25 Younger abstention doctrine does not apply to prohibit


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 67 of 110 PageID #: 576


                                                                                 67
       1 me from evaluating that aspect of their complaint,

       2 correct?

       3                MR. LINDSEY:       Yes.

       4                THE COURT:      All right.        Does the state feel

       5 that there is any artistic, literary, or political value

       6 at all in the movie when taken in its totality?

       7                MR. LINDSEY:       I don't believe the state has

       8 taken a position on that, and I don't believe it would

       9 be appropriate to take a position on that.                It's an

     10 undecided issue.         And it's an issue that's fatal to this

     11 proceeding because that is something that needs to be

     12 decided by a jury.

     13                 THE COURT:      Okay.

     14                 MR. LINDSEY:       And, particularly, a jury in

     15 Tyler County applying their community standards.

     16                 THE COURT:      Okay.

     17                 MR. LINDSEY:       But -- since we're talking

     18 about 43.262, going to the elements of what it takes to

     19 get relief -- injunctive relief in this court, I'll skip

     20 to Section 2 here, the substantial -- I'm sorry -- no.

     21 I'll just start from the top.               Substantial likelihood of

     22 success on the merits.

     23                 THE COURT:      Right.

     24                 MR. LINDSEY:       So as -- as we have discussed,

     25 this case -- the Lowry case is not concluded.                  And so


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 68 of 110 PageID #: 577


                                                                                   68
       1 there's no way that this Court can say that Netflix will

       2 succeed on the merits when we don't even know what the

       3 merits are yet.        It's still in review.

       4                THE COURT:      Well --

       5                MR. LINDSEY:       Secondly --

       6                THE COURT:      Well, the writ has been granted

       7 in that case, as I understand it.                It was granted on

       8 March 2nd of this year, but -- and we don't know what

       9 the higher court will do with it yet.                     I suppose at

     10 least -- somebody at least wants to re-examine some or

     11 all of that opinion, and that's why writ was granted.

     12 That doesn't necessarily mean, though, that it's not --

     13 that it is going to be overruled or overruled in part.

     14                 As it stands right now, is that decision, the

     15 Lowry decision, the case law that would -- that applies

     16 to that issue?         To the issues laid out there?               Is there

     17 something else I would adopt and apply?

     18                 MR. LINDSEY:       Negative, your Honor.           The

     19 Lowry decision does not apply here.

     20                 THE COURT:      It does not apply?

     21                 MR. LINDSEY:       No.    The Lowry court

     22 specifically, and I quote, confined our analysis to the

     23 portion of Section 43.262 that prohibits a person from

     24 knowingly possessing visual material.                      This is not a

     25 possession case.         This is a lewd exhibition case.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 69 of 110 PageID #: 578


                                                                                 69
       1                THE COURT:      In terms, though, of that court's

       2 discussion of your client's case, though, or should --

       3 or, perhaps, you might argue that's dicta.                  I'm not

       4 sure.

       5                MR. LINDSEY:       Correct.

       6                THE COURT:      But whether it was -- it violated

       7 the statute or not, I think there's -- there is a --

       8 some indication of the Court's opinion about that.

       9 Would you agree?

     10                 MR. LINDSEY:       I don't know if I could

     11 necessarily agree.          There is certainly solid indication

     12 on what the Harris County district attorney thinks about

     13 it, but the point of the matter is the law is not

     14 settled on this.         And so in order for Netflix to proceed

     15 here, this Court needs to find that the law is settled,

     16 that this is a baseless prosecution, that this is an

     17 unconstitutional statute, it could never be brought

     18 against them, and therefore they need to be -- Mr. Babin

     19 needs to be enjoined.           And that's just not the case.

     20                 THE COURT:      Well, now for -- now, maybe at

     21 the injunctive level, but this is just for temporary

     22 restraining order.

     23                 MR. LINDSEY:       Yes, your Honor.

     24                 THE COURT:      And so the final -- I'm not here

     25 to make a final decision on any of that.                   It's just


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 70 of 110 PageID #: 579


                                                                                    70
       1 whether or not they have -- they've met their threshold

       2 of having a probable right of recovery.                   Have they

       3 articulated that or not?

       4                MR. LINDSEY:       No, your Honor.         And, again,

       5 this first element, substantial likelihood of success on

       6 the merits, we don't know what success on the merits

       7 would look like right now.             The law is unsettled.          It

       8 could very well be that this statute is upheld and is

       9 perfectly constitutional.            It could very well be that it

     10 becomes wholly unconstitutional in the future.                    The fact

     11 of the matter is this has not been given an opportunity

     12 to play out in the state court --

     13                 THE COURT:      Okay.

     14                 MR. LINDSEY:       -- at the trial level or

     15 appellate level.

     16                 THE COURT:      Okay.

     17                 MR. LINDSEY:       The second element, substantial

     18 threat of irreparable harm.              I know Mr. Bennett touched

     19 on this, but I think he mischaracterized a few things.

     20 Yes.      There is a substantial threat of irreparable harm

     21 to Netflix if they lose this case, if they are

     22 convicted.       However, the standard is substantial threat

     23 of irreparable harm if the injunction is not granted.

     24                 THE COURT:      Let me ask you something, and I

     25 asked your opposing counsel this -- about, you know,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 71 of 110 PageID #: 580


                                                                                      71
       1 what happens to a corporation that's indicted?                    How does

       2 it harm them?       I mean, I was told there could be some

       3 fines; is that true?

       4                MR. LINDSEY:       That is my understanding, yes,

       5 your Honor.

       6                THE COURT:      Okay.     Which is some harm.        But

       7 in a broader sense, I think -- I'm assuming for purposes

       8 of this comment or this question -- that corporations do

       9 not like to be indicted.           It doesn't do a lot for their

     10 corporate image.         They're an indicted corporation.                It

     11 sounds -- even though we all recognize the presumption

     12 of innocence, it's still they're an indicted

     13 corporation.

     14                 And could it -- and this is the question:                  If

     15 there is a threat of indictments for one case or

     16 another, could that be -- could that then be a chilling

     17 effect on what movies, in this case Netflix, chooses to

     18 put on their system?          In other words, well, we better

     19 not put that on there, somebody -- we might get

     20 indicted, you know.          And so they then shy away from --

     21 just for fear of being indicted, movies that might --

     22 might be less offensive than this particular movie

     23 Cuties.

     24                 MR. LINDSEY:       I -- certainly that could be

     25 the result of something like this.                  However, our


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 72 of 110 PageID #: 581


                                                                                  72
       1 argument would be there is no threat of prosecution

       2 right now.      The one thing that's happened --

       3                THE COURT:      Well, wait a minute.          They're

       4 indicted, are they not?

       5                MR. LINDSEY:       They're indicted under 43.25.

       6                THE COURT:      I got that.        And the other was

       7 without prejudice.

       8                MR. LINDSEY:       That's correct.         And that's the

       9 only indication that, perhaps, another charge like that

     10 could be brought, but there is no actual threat that

     11 such a charge will be brought.                The two charges were

     12 simply swapped, and it's my understanding that it's

     13 pretty standard practice to dismiss an indictment

     14 without prejudice.          There's no implicit threat there

     15 that the same charge is going to be brought up again, if

     16 that answers your question, your Honor.

     17                 THE COURT:      Well -- okay.         I accept what you

     18 said.

     19                 MR. LINDSEY:       And, your Honor, I would also

     20 point you to precedent where federal courts have stepped

     21 in where Younger does not apply.

     22                 THE COURT:      Right.

     23                 MR. LINDSEY:       And these are situations --

     24 I'll specifically point the Court to Google v. Hood,

     25 822 F.3d 212, Fifth Circuit 2016.                 This case cites many


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 73 of 110 PageID #: 582


                                                                                 73
       1 other similar cases.         These are all circumstances where

       2 the state was issuing repeated subpoenas and pretrial

       3 investigations and overtly threatening a prosecution

       4 that had not happened yet.             And so the federal court

       5 jurisdiction was invoked in order to deal with that

       6 situation.      This is not the same situation.             This is a

       7 one charge that has been dismissed as a matter of

       8 course.

       9                THE COURT:      Right.

     10                 MR. LINDSEY:       It is simply up to the

     11 prosecutor to bring that charge again if more evidence

     12 develops, but there's no actual threat that that's going

     13 to happen.       There's no request for discovery.             There's

     14 no subpoenas.        Nothing like that to Netflix concerning

     15 that particular charge.

     16                 THE COURT:      Okay.     Would the statute of

     17 limitations on that just go from the date of the last

     18 day of streaming?

     19                 MR. LINDSEY:       I honestly don't know, your

     20 Honor.

     21                 THE COURT:      Okay.

     22                 MR. LINDSEY:       I will not insult you by

     23 guessing.

     24                 If I could return to number two, substantial

     25 threat of irreparable harm if the injunction is not


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 74 of 110 PageID #: 583


                                                                                    74
       1 granted.      As the Court pointed, this injunction would by

       2 necessity be temporary.           There is nothing articulated

       3 here where some harm would result because this

       4 particular injunction is not granted.                     Fourteen days are

       5 going to lapse, and the indictments are still going to

       6 exist.     It's a moot point.

       7                There's also, on a broader scale, no

       8 assertion of irreparable harm that would not be visited

       9 on Netflix by a jury.          There's nothing suggested here

     10 that Mr. Babin needs to do that cannot be remedied

     11 through the proper court procedures.                   And so this

     12 injunction is necessary.            Jurisdiction for this Court is

     13 necessary.

     14                 And then I'll address the third and fourth

     15 element at the same time.             What we have here is a real

     16 public policy issue.          The message this sends to

     17 Mr. Babin and every other prosecutor is they cannot find

     18 a better charge and substitute it without being dragged

     19 into federal court.          There is no evidence that he did

     20 not do exactly that for just the reasons of getting a

     21 more appropriate charge and judicial efficiency.                      And

     22 so --

     23                 THE COURT:      I think he stated that in his --

     24 in his withdraw.         That there were -- the facts were more

     25 suited -- I don't remember.              I'm paraphrasing it.          A


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 75 of 110 PageID #: 584


                                                                                 75
       1 different statute or some words to that effect.

       2                MR. LINDSEY:       Yes, your Honor.

       3                And so this -- this does -- it causes harm to

       4 the defendant, and it does disserve the public interest

       5 because now prosecutors have to worry every time that

       6 they're faced with potentially being able to cure a

       7 charge that isn't the best, but if I do that, well, then

       8 I'm going to get dragged into federal court.                  So now

       9 there's an incentive, if precedent is set in this

     10 matter, to keep a bad charge and pursue that.                   That

     11 certainly disserves the public interest.                   I also

     12 wanted to --

     13                 THE COURT:      Yeah.     I think it said the facts

     14 of this case are better suited for other statutes.

     15                 MR. LINDSEY:       Correct.

     16                 THE COURT:      That's when the state was

     17 dropping 43.262.

     18                 Okay.    Go ahead.

     19                 MR. LINDSEY:       That would be Mr. Babin's

     20 motivation.

     21                 THE COURT:      Right.

     22                 MR. LINDSEY:       There's no evidence of any

     23 other motivation.

     24                 THE COURT:      Uh-huh.

     25                 MR. LINDSEY:       I just wanted to note to clear


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 76 of 110 PageID #: 585


                                                                                 76
       1 up a couple other things specifically about the Dost

       2 factors.      I don't know anything about the legislature

       3 jettisoning Dost factors.            But whatever they did, the

       4 message did not get to the Court of Criminal Appeals.

       5 Because as of 2017, State v. Bolles, 541 S.W.3d 128, the

       6 Court of Criminal Appeals were applying the Dost factors

       7 to the definition of lewd under 43.25 as recently as

       8 last year in Romo v. State, 629 S.W.3d. 679.                 This is

       9 the Fourth Court of Appeals out of San Antonio relying

     10 on Bolles applying the Dost factors.

     11                 It's also important to note the Dost factors

     12 are not dispositive.          And so I'm not sure if Mr. Bennett

     13 specifically made this argument, but it was brought up

     14 that one of the Dost factors includes clothing --

     15 whether they were clothed or not.                 That issue is not

     16 dispositive.        These are advisory.           These guide the Court

     17 on what "lewd" means.           So what we do have is the focal

     18 point of visual depiction being on the child's genitalia

     19 or pubic area.         Whether the setting of visual depiction

     20 is sexually suggestion.            Whether the child is depicted

     21 in an unnatural pose.           Then whether the child is fully

     22 or partially clothed or nude.               Whether the visual

     23 depiction suggests sexual coyness or willingness to

     24 engage in sexual activity.             And, finally, whether the

     25 visual depiction is intended or designed to elicit a


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 77 of 110 PageID #: 586


                                                                                 77
       1 sexual response from the viewer.

       2                If you read the Court of Criminal Appeals

       3 opinion, not qualifying for one of these advisory

       4 factors is not dispositive of the whole thing.                 This

       5 just guides the Court on finding what is lewd and what

       6 is not under a particular set of circumstances, which,

       7 again, is not in the purview of this Court right now.

       8 It's under the purview of, first, a jury and then an

       9 appellate court in the Texas state system.

     10                 I believe I've covered everything that came

     11 up, your Honor.

     12                 THE COURT:      Okay.     Well, I appreciate it.

     13                 MR. LINDSEY:       Thank you.

     14                 THE COURT:      Mr. Babin, do you care to address

     15 the Court?

     16                 MR. BABIN:      Well, your Honor, I would just

     17 say that -- thank you for your time today.                  And the only

     18 thing I would add to that, your Honor, is that I believe

     19 many, if not most, of the issues that Mr. Bennett raised

     20 can be addressed by a jury in the State of Texas.                   And I

     21 would also just add to that that his representation to

     22 this Court about the ruling in the Lowry case was not

     23 accurate.       The Lowry decision did not find that entire

     24 statute facially unconstitutional.                  As Mr. Lindsey just

     25 stated, the Lowry court found only the portion of it


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 78 of 110 PageID #: 587


                                                                                  78
       1 that was charged in the Harris County case

       2 unconstitutional.         So that was not accurate.

       3                And other than that, Judge, I would just

       4 remind the Court that we have only had but a few hours

       5 to prepare anything for this morning.                     So beyond that --

       6                THE COURT:      Same for the Court.

       7                MR. BABIN:      Yes, sir.       I understand.       But

       8 that's all I have at this time.

       9                THE COURT:      All right.        Thank you very much.

     10 I appreciate that, Mr. Babin.

     11                 All right.      Mr. Bennett, do you care to have

     12 some more words for us?

     13                 MR. BENNETT:       Yes, if I may, your Honor.

     14 Points in rebuttal.          And I'll make it as quick and talk

     15 as slow as I'm capable of.

     16                 There's ample evidence just -- we're focusing

     17 on Younger.        Let's stay with Younger because we like

     18 Younger, right?         It showcases the facts about why

     19 federal relief is so necessary in this case.                      So when it

     20 comes -- so I'm glad we agree that the Court can

     21 maintain jurisdiction over this case and ought to

     22 adjudicate the underlying claim for lack of mootness --

     23 that Younger doesn't apply, and there's no mootness here

     24 because, A, the state maintains the statute's

     25 constitutional.         B, there's been no adjudication that


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 79 of 110 PageID #: 588


                                                                                  79
       1 we've asked for, and we can obtain a federal forum for

       2 it without worrying about Younger.                 And, C, despite what

       3 my friend on the other side argued just a moment ago,

       4 there's a world of difference -- and the cases that he's

       5 alluding to are easily distinguishable.

       6                And there's plenty of cases that -- that

       7 distinguish them and come out our way.                    And that's -- it

       8 would be one thing if before the indictment Netflix had

       9 run to federal court with no prosecutors having indicted

     10 them of a second degree felony under state law for

     11 promoting Cuties.          But it just ran to federal court and

     12 said, well, we don't know of anything, but we just don't

     13 like this statute.          So we want a pre-enforcement

     14 challenge.

     15                 It gets a little narrower at that point, but

     16 we're 500-plus days beyond a pre-enforcement challenge.

     17 We are 500 days post-enforcement.                 And under binding

     18 Fifth Circuit and Supreme Court law, when you've been

     19 indicted and a voluntary dismissal is made and it's not

     20 with prejudice and the state stands behind its conduct

     21 and the statute at issue, the best predictor of what

     22 has -- what will happen in the future is what has

     23 happened in the past.           And Court 's hold under all of

     24 those circumstances it's a live controversy.                     So the

     25 Court has mandatory jurisdiction, federal question


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 80 of 110 PageID #: 589


                                                                                   80
       1 jurisdiction, to adjudicate Netflix's First Amendment

       2 challenge 262.

       3                And I want to correct what's being said --

       4 I've been accused of mischaracterizing some law on

       5 Lowry.     Let's be very clear about what Lowry said and

       6 didn't say.       Lowry did not limit itself and can't be

       7 credibly read to limit itself to a possession charge.

       8 Possession was the charge, that's true.                     What the Court

       9 said is we're limiting our opinion in Footnote, I

     10 believe, 8 -- we're limiting our opinion to clothed and

     11 partially clothed.          We're not reaching the issue of

     12 unclothed because that's not at issue in the materials

     13 at issue in Lowry.          That's the carveout.              That's Cuties.

     14                 So I have accurately represented Lowry.                I

     15 have accurately represented the Court's holding in

     16 Lowry, and that is that under those two pieces of 262,

     17 it's substantially unconstitutional on all of its

     18 applications.        And it isn't invalid only as applied to

     19 Mr. Lowry but as to everyone.               So it's a facial

     20 challenge.       That's why it's ex parte.                 It is a pretrial

     21 habeas petition.         So we have been very correct and clear

     22 about what Lowry said.

     23                 But the other problem with what my friend on

     24 the other side said about Lowry is -- he seems to imply

     25 that a state court decision somehow precludes a federal


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 81 of 110 PageID #: 590


                                                                                 81
       1 court from adjudicating a federal constitutional issue.

       2 That somehow this Court has to defer to a state court of

       3 appeals or even the Texas Court of Criminal Appeals

       4 before it can adjudicate a claim before it and over

       5 which is has undisputed federal question jurisdiction.

       6 That's not the law anywhere.              It's never been the law.

       7 It won't be the law.         It's in the constitution that

       8 federal courts adjudicate federal issues.                 So there's no

       9 deference owed to Lowry or the Court of Criminal

     10 Appeals.       They can reach whatever conclusion they

     11 want --

     12                 THE COURT:      Although to the extent it helps

     13 you, you don't mind my reading Lowry.

     14                 MR. BENNETT:       It's definitely persuasive and

     15 certainly will do it, but our main reason in citing

     16 Lowry isn't necessarily even the conclusion it reaches

     17 because we just think the conclusion Lowry reaches is --

     18 to 43.262 is just really obvious under existing law.

     19 The reason Lowry is so useful to us is what you

     20 discussed with -- with my friend on the other side about

     21 what's going on with -- what the state is doing here.

     22 You asked the state to take a position today on whether

     23 the film has artistic merit, and it refused to do it.

     24 Meanwhile, it's taking conflicting positions on that

     25 very issue in the public sphere.                 It says it is and it


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 82 of 110 PageID #: 591


                                                                                      82
       1 is not.     We're here because we've been indicted because

       2 Mr. Babin doesn't think that it does.                     Not just some.

       3 Any.

       4                And so when we -- we're faced with this as we

       5 were trying to stream, not just Cuties, but other movies

       6 that may touch on or resemble Cuties in some way -- we

       7 have to make these complex decisions about whether we

       8 want to go through this all again in Tyler County.                      That

       9 is -- that's the definition of irreparable harm.                     The

     10 state can't give you a straight answer today, but

     11 they've told one judge when it helped them in Houston

     12 that it does to try to get a conviction for Mr. Lowry.

     13 And then when they -- they need to get a conviction on

     14 Netflix, they'll say it doesn't.                 That is exactly why

     15 the statute is unconstitutional on its face, and we want

     16 the Court to reach that question.

     17                 On -- in terms of Younger, it was brought up

     18 that these are jury questions that state court juries

     19 should reach and that bad faith is not present.

     20                 THE COURT:      Hold on a second.

     21                 MR. BENNETT:       Yeah.

     22                 THE COURT:      You want me to rule that 262 is

     23 unconstitutional, but 43.25 -- you're not seeking a

     24 constitutional evaluation of that statute, correct?

     25                 MR. BENNETT:       Yes, we are.            Just a different


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 83 of 110 PageID #: 592


                                                                                 83
       1 kind.     So it's a remedial question.              The question is

       2 what remedy -- we get different remedies for our

       3 challenges.       The remedy for the 262 challenge is this

       4 Court says no prosecutor in Texas, whether Mr. Babin or

       5 anybody else, can indict anyone for violating 262

       6 because it is unconstitutional in substantially all of

       7 its applications either because it's hopelessly

       8 indeterminate and violates due process, especially

       9 because it chills speech, or because it violates the

     10 First Amendment, as Lowry concluded, because it's

     11 substantially overbroad and engages in content-based and

     12 viewpoint-based distinctions that the First Amendment

     13 doesn't permit.         So that's A.        You can't enforce this

     14 against anyone ever challenged.

     15                 THE COURT:      All right.        That's 262.

     16                 MR. BENNETT:       Correct.

     17                 THE COURT:      Go back to 43.25.

     18                 MR. LINDSEY:       In 43.25, our remedy is

     19 different.       We are not telling the State of Texas that

     20 it can't pursue 43.25 against actual child pornographers

     21 because we want Texas to pursue real child

     22 pornographers.         We're not going to step in the state's

     23 way of doing great public work when they properly use

     24 their resources.         What we're saying is, after

     25 recognizing that you have no chance of winning on 262,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 84 of 110 PageID #: 593


                                                                                 84
       1 either because it's unconstitutional or you can't ever

       2 show it appeals -- that the film Cuties satisfies the

       3 material elements of appeals to the prurient interest,

       4 for example --

       5                THE COURT:      Or that it has no artistic

       6 value --

       7                MR. BENNETT:       Or that it has no artistic

       8 value.

       9                THE COURT:      Okay.

     10                 MR. BENNETT:       Including -- because the

     11 state's already said so when it served its purposes in a

     12 different case.         You want to sweep that under the rug,

     13 avoid federal scrutiny, and now just stick with a

     14 challenge that we -- we have to wait and go through the

     15 entire trial process before we can vindicate our federal

     16 constitutional rights.

     17                 And I will tell you, if we didn't have all of

     18 the facts that we have in this record, if Mr. Babin had

     19 issued an indictment in October of 2020 for 262 and

     20 two days later came back and indicted us under 43.25, we

     21 would have probably had something to say about it but

     22 not here.       Because that's a different story.             The cases

     23 overlaid across these facts paint a very distinct

     24 picture.       And that's Mr. Babin watched the film in 2020,

     25 thought we violated 262, only 262, charged only 262,


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 85 of 110 PageID #: 594


                                                                                  85
       1 mentioned only facts relevant to 262 in his indictment,

       2 and waited 400 days until we showed him the statute was

       3 invalid.      And it wasn't until after and because we filed

       4 that challenge to his case suddenly he convenes secretly

       5 his grand jury, and we get four more indictments --

       6 five -- five times more than any prosecutor in America

       7 has brought against Netflix for this film and tries to

       8 get us -- deprive us of our pretrial habeas rights and

       9 all of the rest.

     10                 Those facts, among the others that we've

     11 cited -- and I don't want to go through them again.

     12 They're certainly in our complaint and in our motion --

     13 justify the relief we seek under Younger, and it doesn't

     14 have anything to do with jury questions.                     The reason

     15 that we brought up elements -- and I want to make this

     16 distinction because I don't think my friend on the other

     17 side -- he kind of confused these issues.                     The only

     18 reason why we talk about the merits -- the underlying

     19 merits is because of the issue of probable cause and the

     20 way that overlays bad faith for purposes of Younger.

     21 It's not an issue of jury question.

     22                 Probable cause is not a jury question.

     23 Probable cause is a due process issue.                     When state

     24 officials act without probable cause, they violate due

     25 process --


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 86 of 110 PageID #: 595


                                                                                 86
       1                THE COURT:      That's the Fourteenth Amendment

       2 argument, correct?

       3                MR. BENNETT:       Exactly.       So that's what

       4 happened here.        No reasonable prosecutor -- no one who

       5 actually watched this film could have ever thought

       6 43.262 ever could have garnered a conviction.                 It was

       7 hopeless from the moment the indictment issued.                   Not

       8 only because of the profound constitutional issues, but

       9 because Mr. Babin was never going to get the proof he

     10 needed to satisfy appeals to the prurient interest or

     11 any of the other things.

     12                 So that doesn't -- that jury question that

     13 may exist, if there's probable cause, that's not before

     14 the Court.       And it doesn't -- the Court doesn't need to

     15 spend any time worrying about that.                  The only reason

     16 that's implicated in this case is because after

     17 indicting us once under -- without probable cause, we

     18 dealt with that.         We were ready to go forward with that

     19 in state court.         He changed horses 500 days later

     20 despite having seen the film, despite having every

     21 opportunity to do it before we spent time on the habeas

     22 petition pursuing that, defending that case, and he

     23 chose to wait until after it.               And it was because --

     24 there is causation there.             And, again, I would submit

     25 Jordan and Torries to the Court about why those facts


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 87 of 110 PageID #: 596


                                                                                   87
       1 preclude any application of Younger.

       2                So let's talk about likelihood of success,

       3 harm, and then I want to end on the public interest.

       4 The -- my friend on the other side wants to talk about

       5 unsettled law.        Aren't -- whatever issues may be

       6 unsettled in the state court have no bearing on this

       7 Court's jurisdiction or power to adjudicate the claims

       8 we've raised.       State court doesn't effect, implicate,

       9 impact this Court's plenary authority over federal

     10 constitutional issues.

     11                 And the Court can read state law and look at

     12 cases.      Certainly, they're informative.                Certainly, they

     13 can be persuasive.          But at the end of the day, it is

     14 this Court's duty, this Court's power to decide what

     15 federal law is.         Not state -- not state courts and

     16 certainly not state court juries.

     17                 Likelihood of success on the merits.              My

     18 friend raised Dost.          I want to be clear about why Dost

     19 even matters for purposes of this case.                    It's only an

     20 interpretive aid.          Dost only ever is an interpretive aid

     21 to decide when the catchall in real child pornography

     22 cases, lewd exhibition applies, and whether the material

     23 at issue in those cases amounts to sexual conduct.                       The

     24 reason we've raised Dost is because it's clear.                    The

     25 legislature didn't use Dost.               Didn't want Dost used.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 88 of 110 PageID #: 597


                                                                                 88
       1 There are two textual clues before you even get to the

       2 legislative history.         And that's the fact that the

       3 legislature purposely did not use -- purposely omitted

       4 the phrase "sexual conduct" from anywhere in the

       5 operative elements of Section 262.

       6                And the reason that matters and the reason

       7 that implicates Dost is because lewd exhibition in the

       8 sexual conduct sense in 43.25, right, is one thing, but

       9 when you sever lewd exhibition from sexual conduct and

     10 use a different phrase, the canons of construction say

     11 it can't mean the same thing or shouldn't mean the same

     12 thing and thereafter we don't have to worry about Dost.

     13 I guess I'll just correct a couple of things.                   Bolles is

     14 not a 262 case.         Bolles is a 43.25 case.            The Bolles

     15 court never construed Section 262 because it's a 2017

     16 case, and it was before 262 was even effective.                   So the

     17 Court had no opportunity whatsoever to ever opine on

     18 what lewd exhibition meant for purposes of 262.

     19                 And it certainly hasn't indicated that the

     20 legislature intended, despite all of the evidence to the

     21 contrary, for lewd exhibition to mean the same thing

     22 that it means in 43.25.            Again, there are too many

     23 textual clues.         There's too much legislative history to

     24 ever reach that conclusion that they're the same

     25 meaning.       And in terms of clothing, I thought I was


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 89 of 110 PageID #: 598


                                                                                 89
       1 pretty clear, but let me be clearer in case I wasn't.

       2 My friend on the other side seems to suggest

       3 differently.       I never said clothing -- the presence of

       4 clothing was dispositive or at least I never intended

       5 to.    It's mitigating.        And that means it lessens -- it

       6 doesn't necessarily dispose of, but lessens the

       7 likelihood of a finding of sexual conduct.                  But the

       8 point is -- and this is one of those textual clues about

       9 what lewd exhibition for purposes of 262 means -- when

     10 you have a statute that makes clothing the incriminating

     11 fact, you can't apply Dost.              That would otherwise make

     12 it -- right?        That conflicts with the legislature's

     13 purpose.

     14                 The legislature knows about Dost.             It knows

     15 it makes clothing a mitigating factor, and yet it uses

     16 clothing as an incriminating factor in a different

     17 statute further cementing the conclusion that Dost can't

     18 apply and lewd exhibition is different.

     19                 So what I didn't hear ever is any

     20 full-throated defense of 262 as not overbroad or any

     21 defense of Mr. Babin's effort to stretch 43.25 to the

     22 film Cuties.        That never came up at any point during my

     23 friend on the other side's rebuttal.                   And that's because

     24 there really isn't any good argument for it.                   There's

     25 too many cases against it.             There's no facts to support


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 90 of 110 PageID #: 599


                                                                                    90
       1 it.    So likelihood of success on the merits, at least

       2 for purposes of today, weighs completely in Netflix's

       3 favor.

       4                I understand concerns about, you know, the

       5 harm, and I want to be clear about that.                    We've cited

       6 the Opulent case to your Honor on Page 36 of our motion

       7 where the Fifth Circuit says expressly, "Even a minute's

       8 loss of a First Amendment right is irreparable harm."

       9 We have certainly more than that here.                    It's not --

     10 Google -- Google talked about subpoenas.                     We have five

     11 indictments -- felony indictments in this case that

     12 we're now operating under the shadow of.                     One dismissed

     13 but vouched for and never backed away from, and four

     14 currently under a statute that can't possibly apply to

     15 this film.       That's far weightier than a request or an

     16 order to provide some documents.                 Five of them.      And,

     17 again, five more than any prosecutor in America has ever

     18 issued.

     19                 Your Honor just asked about statute of

     20 limitations, and this, again, goes to the harm issue.

     21 That's a weighty issue of -- especially since some of

     22 these are facial issues, right?                Because we don't have

     23 to show on a facial challenge that it applies always to

     24 us.     The implications -- the First Amendment

     25 violations -- we can talk about First Amendment


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 91 of 110 PageID #: 600


                                                                                   91
       1 violations to all people, right?                So statute of

       2 limitations -- maybe Mr. Babin's claim is barred in, I

       3 think, six, maybe eight years -- no.                  For a child

       4 offense, it might be as many as ten in Texas.                   So he's

       5 got until 2030 -- as long as 2030, I believe, to come

       6 after Netflix again or his successor or whomever else,

       7 but it's ten years for any user.                So on the last day of

       8 however long Cuties is on Netflix, it's ten years from

       9 that last use that the citizens of Texas have to worry

     10 about Mr. Babin or someone else indicting them for

     11 watching a film that's publicly available and won awards

     12 at film festivals.          That -- that can't be the law, and

     13 it's the epitome of irreparable harm.

     14                 On the issue of the indictments, my friend on

     15 the other side talked about, well, the indictments are

     16 still going to exist.           Yes, that's true.          But if the

     17 Court acts and enjoins Mr. Babin and, again, all of the

     18 folks that Rule 65(d) touches, there's a lot of pretrial

     19 events still to happen.            We understand, and we've been

     20 upfront, candid, and have come honestly that we've made

     21 a big request of the Court, but we've made it because

     22 the facts and the law justify it.                 And the First

     23 Amendment requires the vindication of those interests.

     24                 And it's not going to be a speedy decision

     25 even for purposes of a TRO.              What we're up against right


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 92 of 110 PageID #: 601


                                                                                    92
       1 now is an arraignment, I think, a week from -- two weeks

       2 from this coming Monday.           I don't want to have to appear

       3 at that with -- typically, under usual practice under

       4 state law, you've got to show up with the individuals

       5 named in the indictment.           They've named my CEO and the

       6 chief content officer.          I don't want to have to show up

       7 with Mr. Hastings at an arraignment in Woodville, Texas,

       8 for a charge that should be enjoined under federal law.

       9 Now, we -- in all candor, we could waive arraignment and

     10 enter not guilty like we did the first time -- a plea of

     11 not guilty, but we shouldn't have to do that because it

     12 never should have happened to begin with.                      And this

     13 Court can decide that -- the as-applied constitutional

     14 nature --

     15                 THE COURT:      Well, if the TRO were granted for

     16 14 days, then that would stop that arraignment process

     17 at least that long.          There's been a lot of talk about

     18 having enough time to absorb everything.                      These are

     19 serious issues for the Court to decide and -- on many

     20 different levels.          I mean -- and without making any

     21 comment on the merits, the Court certainly sees the

     22 damage that child pornography causes.                      This Court, as

     23 well as virtually every other federal district court in

     24 the country, reads the victim's statements when

     25 convicting and sending someone to prison for a


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 93 of 110 PageID #: 602


                                                                                 93
       1 conviction of child pornography.                And this Court has

       2 seen how preying on children, even to the point of

       3 wanting to cannibalize children after sexual conduct,

       4 and children can get lured into these situations through

       5 the use of social media and what have you.                It's very

       6 dangerous.      And the Court certainly understands the good

       7 natured intent of the legislature to try to curb these

       8 abuses by passing statutes that they think are in the

       9 best interest.

     10                 And for that matter, the actions of a

     11 district attorney wants to utilize those statutory tools

     12 to try to curb the abuse of children in this way, and

     13 many people of good intent who want to restore a sense

     14 of values and decency and all would actually applaud

     15 Mr. Babin for taking steps to end, stop child

     16 pornography, but -- so that's -- I can understand --

     17 although Mr. Babin only spoke briefly -- but I can

     18 understand his desire to try to do what he feels is

     19 right.      I can understand the desire of the members of

     20 the legislature to try to do what they think is right.

     21 But ultimately on the other hand, we do have the

     22 constitutional right of freedom of expression.                  And

     23 there is some very weighty issues here that the Court is

     24 going to have to work through.

     25                 And, you know, 14 days, given the Court's


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 94 of 110 PageID #: 603


                                                                                 94
       1 schedule -- other trials -- you know, to even really

       2 give this for both sides the kind of proper evaluation

       3 that it needs, you know, in -- it may take 14 days to

       4 even get to that point.           But I suppose at least a

       5 temporary restraining order, assuming the Court feels

       6 that you've met the threshold requirements, would at

       7 least kick the can down the road without your CEO or

       8 other top executives having to appear in court for an

       9 arraignment.       Although you might do it in another way.

     10                 I suppose, frankly, that -- I don't know that

     11 even the state would object too much to kicking the can

     12 down the road for 14 days.             After all, it kind of held

     13 the claims for 400 days.            I mean, these are very

     14 serious -- this is a very serious case for both sides.

     15 You're talking about the unconstitutionality of a

     16 statute.       Well, a lot of good natured people came

     17 together in Austin to try to come to some sort of

     18 statute to try to curb what is a very major problem in

     19 the state.       And people can be victimized.             Ironically,

     20 if what I've read in some of the pleadings, the actual

     21 producer of this movie was, in a sense, in agreement

     22 with Mr. Babin that this is such a problem in the world

     23 today that this movie was an attempt to try to curb

     24 those abuses.        It's kind of an irony of sorts.

     25                 And, again, perhaps, you would probably argue


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 95 of 110 PageID #: 604


                                                                                 95
       1 that's the political merit of the case, value of the

       2 case.     So this is -- this is a -- in many ways, it

       3 almost seems to the Court that the producer of this

       4 movie and Mr. Babin are on the same page.                 It's just how

       5 you express that might be what is difficult.                 So I don't

       6 know.     I'm just curious about my comment, and I'd ask --

       7 not to interrupt your -- I'm just curious, Mr. Lindsey,

       8 about what I just said.

       9                MR. LINDSEY:       Could I have a couple of

     10 minutes to speak with Mr. Babin?

     11                 THE COURT:      You may.       Do you want to be in

     12 recess or just take --

     13                 MR. LINDSEY:       Yes, sir.

     14                 THE COURT:      Before you do that, do you want

     15 to complete -- come to a conclusion?

     16                 MR. BENNETT:       Based on your Honor's remark, I

     17 just have a couple quick points because -- and I think

     18 these dovetail together -- your remarks would be where I

     19 finished.

     20                 And your Honor's concerns about

     21 this difficult balance, I think, is expressed best in

     22 Chief Justice Robert's opinion in U.S. v. Stevens.

     23 People can have well-intended desires to protect

     24 children.       In the Stevens case, it was animals.              But at

     25 some -- at some point, as your Honor mentioned, the


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 96 of 110 PageID #: 605


                                                                                 96
       1 desire to protect can't override or invade what is

       2 otherwise protected.         And that's where Stevens ran into

       3 trouble.      And whatever the legislature's good

       4 intentions -- which we're not here to question in 262 --

       5 it transcended that -- that balance -- the balance that

       6 is mentioned in Stevens.           And so we commend the Court --

       7 that opinion of the Court sort of wrestles with those

       8 issues.

       9                But that dovetails in with the last point

     10 that I want to make and that my friend on the other side

     11 made.      What about the state's prosecutors?             What message

     12 does it send to them?           I would submit to your Honor it

     13 won't send any message to them other than that this case

     14 is the outlier that the record shows that it is.

     15 Certainly, we were ready, and we could appreciate a new

     16 statute that Mr. Babin raised in the first indictment.

     17 And we were ready to go to state court on that, but the

     18 record shows what it shows and that it was less about

     19 testing new theories and new ways and more about making

     20 sure Netflix answers for exercising its First Amendment

     21 rights.      Not just of free speech, but to petition for

     22 redress in the petition.

     23                 And at that point, it turned into something

     24 else.      Five-hundred days after indicting under the first

     25 indictment, bringing all these new charges -- again, I


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 97 of 110 PageID #: 606


                                                                                 97
       1 think the biggest factor that weighs against any -- any

       2 notion that your Honor's action in this case would

       3 affect the state's prosecutors in any way is, A, the

       4 state's expressed disclaimer in another case that

       5 Netflix doesn't -- not only is it -- that it doesn't

       6 violate the statute at all, but also that Mr. Babin is

       7 the only -- out of 241 district attorneys and however

       8 many state attorney generals and assistant attorney

       9 generals there are, he's the only one to do what he did.

     10 Not just do what he did in terms of indictment, but do

     11 what he did in terms of what the record shows he's done.

     12                 THE COURT:      Okay.

     13                 MR. BENNETT:       So it won't affect -- it's in

     14 the public's interest.           We'd ask the Court to issue the

     15 TRO that will last 14 days from whenever the Court's

     16 order comes out, being mindful of the arraignment issues

     17 we've addressed, the plea that we're going to have to

     18 enter by whatever means --

     19                 THE COURT:      Which is a week from this coming

     20 Monday?      Is that what you said?

     21                 MR. BENNETT:       Correct.       Or it might be the

     22 following.       I can double check my calendar.             I think it

     23 is actually -- now that I think about it, not two weeks

     24 from this Monday, but it'd be three weeks.

     25                 THE COURT:      I think it's -- well --


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 98 of 110 PageID #: 607


                                                                                 98
       1                MR. BENNETT:       For all those reasons --

       2                THE COURT:      It's very important that we get

       3 this right.

       4                MR. BENNETT:       We agree.

       5                THE COURT:      And I typically have been in

       6 other situations somewhat liberal when it comes to

       7 granting a temporary restraining order, I mean, unless

       8 massive financial issues are at stake, and then we have

       9 to have bonding for that.            But we understand.       But, you

     10 know, at some point, it's like a 14-day cooling off

     11 period until everybody can kind of sort through

     12 everything and give a more orderly presentation with

     13 both sides present.          Here we kind of had -- although --

     14 albeit, I saw where you mentioned that you got the

     15 notice of this late yesterday.

     16                 Most of the time when I'm in a TRO, the other

     17 side didn't even know it had happened until they

     18 received the restraining order.                But I understand that's

     19 because under the federal rules, you had to notify the

     20 attorney general since the constitutionality of a

     21 statute was in effect.           So -- which I appreciate you

     22 doing.

     23                 All right.      There was a request for a brief

     24 recess for the defendant to kind of regroup.

     25                 MR. LINDSEY:       Yes, your Honor.


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 99 of 110 PageID #: 608


                                                                                 99
       1                THE COURT:      And -- would five minutes be

       2 sufficient?

       3                MR. LINDSEY:       I believe so.

       4                THE COURT:      I'll give you five minutes.

       5                We stand in recess.

       6                (A recess was taken at this time.)

       7                THE COURT:      Please be seated.

       8                Yes, Mr. Lindsey.

       9                MR. LINDSEY:       Your Honor, I think that we

     10 have come to a mutually agreeable solution at least for

     11 the meantime, if the Court will agree.

     12                 THE COURT:      For purposes of, like, a

     13 temporary restraining order?

     14                 MR. LINDSEY:       Yes, your Honor.

     15                 THE COURT:      Okay.     But not the full case; is

     16 that correct?

     17                 MR. PRICHARD:       Correct.

     18                 MR. LINDSEY:       Correct.       If I understand

     19 correctly, Netflix is going to agree to take down the

     20 request for temporary restraining order in exchange for

     21 us in the future -- the near future agreeing on a date

     22 to set the final hearing.

     23                 And in the meantime, Mr. Babin will

     24 informally commit not to arraign Netflix.

     25                 MR. PRICHARD:       But I think it's about


                                 April D. Hargett, CSR, RPR, RVR
                                           (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 100 of 110 PageID #: 609


                                                                                  100
       1 95 percent correct.          I think the term that I used with

       2 counsel was an agreed stay of any proceedings so that we

       3 would get outside of the strictures of the temporary

       4 restraining order 14 days to give both sides more

       5 opportunity to brief, maybe to discuss --

       6                THE COURT:       Depending on whatever evidence

       7 you have?

       8                MR. PRICHARD:        And then we wouldn't have to

       9 just come back just in 14 days.                Maybe we could find --

      10 hopefully, with reasonable people, find a reasonable

      11 resolution, so that we would not have to see the Court

      12 again.

      13                But if we did, we have agreed to sometime

      14 around the mid-May portion for a temporary injunction

      15 hearing, if necessary.

      16                THE COURT:       Right.      Well, I think that's

      17 admirable.       I do want to just let -- what I tell all

      18 litigants.       I don't ever want to force anyone into any

      19 sort of a settlement, and I'm not.                  By the same token,

      20 I'm not going to stand in the way of people, you know,

      21 trying to come to some resolution.

      22                My concern is since the issues are pretty

      23 involved, shall we say, I want to make sure I get it

      24 right.      And -- because that doesn't really --

      25 ultimately, I make a decision.                One side or the other


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 101 of 110 PageID #: 610


                                                                                   101
       1 may take it up.        But I want it to go up -- if it goes

       2 up, certainly with my best efforts on the table and a

       3 proper evaluation.         And it's hard to do that in 14 days.

       4 It's hard to properly develop and respond.                 Of course,

       5 under this, it sounds like Netflix, at least, gets a

       6 reprieve for a while.           At least probably until the

       7 middle of May.

       8                And then, you know, I was kind of asking,

       9 well, what are we going to do when we meet again in

      10 14 days or if we were to extend it another 14 to

      11 28 days.      We would be kind of here again, and we could

      12 get it all knocked out in one -- I think I have the gist

      13 of it.      We will obviously have great interest in this.

      14 And with the materials that you've provided us -- both

      15 sides -- I know you'll probably supplement in time for

      16 the final hearing.         Because really you wouldn't need, it

      17 seems to me -- obviously, I'd want to hear otherwise --

      18 a need for us to have a hearing on a preliminary

      19 injunction and then come back a year later on yet a

      20 permanent injunction or anything like that.                 I think --

      21 I think we -- if we could deal with it at one time, it

      22 would probably be wise.            It would probably be wise.            But

      23 then, at least, Netflix, from what I'm hearing, is, at

      24 least, protected in the -- in the short term; is that

      25 correct?


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 102 of 110 PageID #: 611


                                                                                  102
       1                MR. PRICHARD:        That's my understanding.         I

       2 think we've reached that agreement.

       3                MR. LINDSEY:        Yes, sir.

       4                THE COURT:       Now, there is also many a slip

       5 between the cup and the lip, as you know.                  And I'm sure

       6 you all will have some written agreement to this effect

       7 that you all will sign?

       8                MR. PRICHARD:        We will endeavor to do that.

       9 We'll take the first cut, if you'd like.

      10                MR. LINDSEY:        By all means.

      11                MR. PRICHARD:        Okay.      I figured that might --

      12                THE COURT:       And in the event that committing

      13 it to paper is not successful --

      14                Mr. Lindsey, you have authority on behalf of

      15 the attorney general's office?                I mean, do you need to

      16 discuss it with people back at the home office?

      17                MR. LINDSEY:        Actually, my understanding is

      18 now that I've been deputized as a Tyler County special

      19 prosecutor for this matter.              So I have all of the

      20 authority.

      21                THE COURT:       Well, congratulations to you.

      22                MR. LINDSEY:        It was a very formal ceremony.

      23                THE COURT:       Yes.

      24                MR. PRICHARD:        Badge and all that good stuff?

      25                MR. LINDSEY:        I'm working on that.


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 103 of 110 PageID #: 612


                                                                                    103
       1                THE COURT:       So you -- okay.            You can enter

       2 this agreement?

       3                MR. LINDSEY:        Yes.

       4                THE COURT:       You don't have to get the

       5 attorney general to bless it or anything like that?

       6                MR. LINDSEY:        Correct.

       7                THE COURT:       Okay.     Well, I suppose if there

       8 is some sort of a problem, you all let the Court know.

       9 I will -- do you all want to agree -- since we're all

      10 here today, can y'all agree on a date?                     We have to look

      11 at our schedule, too, or do you want to --

      12                MR. BENNETT:        So if I can -- if that's all

      13 right -- I think what I heard your Honor say is we want

      14 to do it one time.

      15                Rule 65(a) permits for that, a consolidation

      16 of a preliminary injunction hearing and --

      17                THE COURT:       That's right.         We've done it.

      18                MR. BENNETT:        -- a permanent injunction

      19 hearing.      I think it just creates some tricky issues,

      20 but I think maybe we could explore that.                     So we have

      21 this interim agreement --

      22                THE COURT:       Because what else would we --

      23 would happen?

      24                MR. BENNETT:        Right.      I think that's --

      25 that's right.        The only -- it's that 2 percent issue I


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 104 of 110 PageID #: 613


                                                                                  104
       1 alluded to earlier, but I think we can have some

       2 conversations about that.             Are there facts?       I mean,

       3 there has been some assertions about evidence and bad

       4 faith.      We think there's ample evidence already, but --

       5 anyway, there might be some other issues to talk

       6 through.

       7                So my suggestion would be we -- I'm glad we

       8 have this order or this agreement.                  We'll get that in.

       9 Again, if there's a problem, we'll come back.                  I don't

      10 anticipate there will be.             And then --

      11                THE COURT:       You don't anticipate there'll be

      12 a problem in reaching the agreement?

      13                MR. BENNETT:        I don't anticipate there'll be

      14 a problem reaching the agreement for the interim

      15 purposes.

      16                THE COURT:       That's what I thought -- that's

      17 what I thought you said.            Go ahead.

      18                MR. BENNETT:        I'm a little tongue tied after

      19 having talked as much as I have.                 I might have said it

      20 wrong.

      21                Yes.    To be clear, I think we're in

      22 agreement.       We'll paper that over and get an order to

      23 your Honor.       If there's an issue, we'll talk.             I do not

      24 think there will be.          And then we could have further

      25 conversations about this -- the Rule 65(a.)                  What do we


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 105 of 110 PageID #: 614


                                                                                  105
       1 want to do about that.           We can reach further agreements.

       2 If it's not going to be -- obviously, some of that is

       3 going to depend on your Honor's calendar to get us --

       4 how much time do we need and -- so I guess all that to

       5 say, we got the temporary problem solved.                  Let us as

       6 lawyers go to work and try to reach some agreements to

       7 make it efficient for everybody.                 I think we can do

       8 that.     So that would be my suggestion.

       9                Obviously, we need to do formal service and

      10 sort of initiate some of these Rule 16(b) kind of

      11 procedures, you know, but that would be my preference at

      12 least for Netflix.

      13                THE COURT:       Is there any discovery that you

      14 all are wanting to engage in between now and the final

      15 hearing?

      16                MR. BENNETT:        I don't want to say no,

      17 absolutely not --

      18                THE COURT:       Okay.

      19                MR. BENNETT:        -- only because of this bad

      20 faith issue.       I don't know what their position is going

      21 to be on some of this.           Some of that may require some

      22 development.       It may come through briefing.             I don't

      23 think there will be discovery.                I just don't want to

      24 commit and say absolutely not right now.

      25                THE COURT:       Hold on just a minute.


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 106 of 110 PageID #: 615


                                                                                   106
       1                We won't set it yet, but May 23rd appears to

       2 be open on the Court's calendar.                 For those of you -- I

       3 think this is the first time you all have ever appeared

       4 in front of me.        I may be a little different than a lot

       5 of federal judges because I was a trial lawyer for

       6 34 years.       I'd like to say -- give you what's convenient

       7 for the Court, but it's still -- when it comes to

       8 scheduling, as long as there aren't any critical issues

       9 that are affected by it, it's the lawyers' case.                   It's

      10 not my case.

      11                And I include -- May 23rd is a time of high

      12 school and college graduations and things like that.

      13 Even weddings and things.             If you have any personal

      14 issues as well as professional, I'd kind of like to --

      15 we work around things like that.

      16                When I was a trial lawyer, I had many

      17 vacations destroyed by judges who just didn't seem to

      18 understand.       So I try to work with people on that.

      19                Mr. Prichard.

      20                MR. PRICHARD:        I will let the Court know that

      21 I have a week-and-a-half, at least, engagement with

      22 Judge Schroeder up in Texarkana.

      23                THE COURT:       When does that start?

      24                MR. PRICHARD:        May 23.

      25                THE COURT:       Okay.     We will honor that.


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 107 of 110 PageID #: 616


                                                                                   107
       1                MR. PRICHARD:        There's a lot going on in that

       2 case, and it may -- it's been continued now five times.

       3 And Judge Schroeder, I don't think, is going to take too

       4 kindly, but there are a lot of issues that he's not

       5 going to be very happy about to continue it again.                   So I

       6 want to let the Court know.              But let me say this:       I'm

       7 working for my friend Mr. Bennett.                  And if that's the

       8 date that's agreed upon and works for everybody, I will

       9 do my best or he'll have a fill-in for me.                  So I don't

      10 want to say no to a date because that date might be just

      11 perfect for everybody else.

      12                THE COURT:       I understand.

      13                MR. PRICHARD:        I'm a "low on the totem pole"

      14 participant.

      15                THE COURT:       I wouldn't say that.        And your

      16 comments are very helpful to the process, and I

      17 appreciate it.        So maybe we need to look for another

      18 date.

      19                Yes, Mr. Lindsey.

      20                MR. LINDSEY:        I was just going to say the

      21 23rd is convenient for us, but if we're looking for

      22 another day --

      23                THE COURT:       All right.

      24                MR. LINDSEY:        -- belay that.

      25                THE COURT:       Mr. Bennett.


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 108 of 110 PageID #: 617


                                                                                      108
       1                MR. BENNETT:        I have to check.           Obviously,

       2 with some of the unknowns with my office and -- we have

       3 a trial thereabouts and maybe pretrial --

       4                THE COURT:       As an alternative, Tuesday,

       5 June 14th.       I think the Court could give that to you.

       6                Is that a little better, Mr. Prichard?

       7                MR. PRICHARD:        Yes, your Honor.           And it's all

       8 right with our client.

       9                Is it all right with you, Mr. Bennett?

      10                MR. BENNETT:        I'll make it work.

      11                MR. LINDSEY:        Was it the 13th or 14th?

      12                THE COURT:       14th.

      13                MR. LINDSEY:        It's convenient for us, your

      14 Honor.

      15                THE COURT:       All right.        I think that would be

      16 better than -- if that's all right with the parties.                         It

      17 extends this agreement another month.                      But -- and that

      18 way we don't have to interfere with your other schedules

      19 and what have you.         And that's fine.

      20                What else do we need to take care of today?

      21                MR. PRICHARD:        What time would the Court like

      22 us --

      23                THE COURT:       Well, we could go ahead and start

      24 at 9:00.      I think that would be fine.                  It sounds like

      25 you guys -- one of the things -- I went ahead and


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 109 of 110 PageID #: 618


                                                                                     109
       1 started at 10:00, and we went a little bit beyond that

       2 because we received so many materials late and into the

       3 night and early morning that I didn't want to start at

       4 9:00 without at least -- at least a cursory review of

       5 what the case was about before presiding over this

       6 hearing.

       7                Obviously, the Court will be better prepared

       8 on the 14th.       And I knew people were coming in, and I

       9 just wanted to give everybody a little more time.                     So --

      10 but if -- y'all will probably come in the night before

      11 anyway, so we might as well get a full day.

      12                Now, this is a Lufkin case.                 We like trying

      13 cases and having cases in Lufkin.                 But since we won't

      14 have a jury involved, I don't think there's really an

      15 issue of anybody waiving an opportunity to have a Lufkin

      16 division jury decide anything at this.                     So would you all

      17 agree to just do it in Beaumont?                 And that would save --

      18 save the Court -- not just me.                I don't care.       But we

      19 have to bring other people up from Beaumont to man the

      20 courthouse there.

      21                MR. PRICHARD:        We waive any right to be in

      22 Lufkin and agree to do it in Beaumont, your Honor, on

      23 behalf of Netflix.

      24                THE COURT:       Now, obviously, if there's ever a

      25 fact issue that required a jury, we would, absent an


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
Case 9:22-cv-00031-MJT Document 20 Filed 04/08/22 Page 110 of 110 PageID #: 619


                                                                                   110
       1 agreement of the party -- and even that has some

       2 implications of our ability to do it -- we would go

       3 ahead and have any kind of a jury trial.                   Now, I don't

       4 think that's an issue here, but we would do that in

       5 Lufkin.

       6                For a hearing, are you okay with Beaumont?

       7                MR. LINDSEY:        Yes, sir.

       8                THE COURT:       Okay.       All right.     Anything else?

       9                Well, let me know for sure that you've

      10 reached an agreement.           We're going to hold June 14th for

      11 you.

      12                And with that being said, we'll stand

      13 adjourned.

      14                (Proceedings adjourned at 1:41 p.m.)

      15                                *        *      *

      16

      17                    COURT REPORTER'S CERTIFICATION.

      18                I hereby certify that on this date,

      19 March 25, 2022, the foregoing is a correct transcript of

      20 the record of proceedings in the above-entitled case.

      21

      22                                _______________________________
                                        APRIL D. HARGETT
      23                                Certified Realtime Reporter
                                        Eastern District of Texas
      24                                Beaumont, Texas

      25


                                  April D. Hargett, CSR, RPR, RVR
                                            (409) 654-2891
